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                         UNITED STATES COURT OF APPEALS
                             FOR THE SECOND CIRCUIT

L. LEE WHITNUM,                                           DOCKET NO. 3:17-CV-01362
      Plaintiff-Appellant,

vs.

THE TOWN OF WOODBRIDGE,
                                                                  DECEIV1'
                                                                  n 1a MAY      2019
ROBERT B. CROWTHER (PERSONALLY
and PROFESSIONALLY), FRANK                                        ev@:'Zlldc,
P. CAPPIELLO (PERSONALLY and
PROFESSIONALLY),                                          April 30, 2019
      Defendants-Appel lees.

                                    PETITION FOR
                                  WRIT OF MANDAMUS

1.      The plaintiff-appellant L. Lee Whitnum ("plaintiff") is seeking a Mandamus Order

from the Second Circuit to compel Federal District Court Judge Janet Hall to:

           a. Answer the Motion to Transfer I Disqualify on Judge Hall's relationship
              with Jane Emons which was filed more than 120 days ago on 11/28/2018
              (Current Exhibit A).

11/28/2018 125          MOTION to Transfer to Another District - a
                -       district in New Jersey by L. "Lee" Whitnum.
                        (Whitnum, L.) (Entered: 11/28/2018)

Judge Janet Hall has ignored the above motion in order to protect her friend Jane

Emons who must be cited into this case. Judge Halls' refusal to address this motion is

to ignore the stated evidence and, is in contradiction to the rules of evidence.

2.     This litigant believes she should be granted the right to have a judge who is not

biased.· It seems at the heart of all of Judge Hall's misinterpretation is the protection of

former Judge Jane Emons, Judge Hall's personal friend. Judge Hall is seemingly

wearing blinders with three goals in mind: A. To keep any evidence of Jane Emons'

actions out of this case (Judge Hall did this by ordering the Amended Complaint be




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further amended to remove Emons' actions ( interlocutory appeal #19-53 of her order

137 on the docket which is annexed as Current Exhibit E). This litigant had amended

her Complaint and this litigant was forced to remove all references to Emons from her

Amended Complaint. - actions that are pivotal to this case. Other less blatant evidence

of Judge Hall's motivation are: B. Prevent Jane Emons, and her alleged accomplice,

John Whalen from answering any deposition questions, C. To prevent Jane Emons

from being citied in (( interlocutory appeal #19-51 ). This litigant is asking to cite in Jane

Emons, as a defendant. Many of these decisions have been ruled upon with either

blatant lies and the ability to amend the complaint to include Emons' actions is a

Interlocutory Appeal, please see (19--227).

3.      This litigant believes Judge Hall has employed selective blindness. Case in point

in the attached recent order dated 3-22-2019 (Current Exhibit C) page 8, this judge

claims the following:

03/22/2019 200          RULING: For the reasons stated above,
                        Plaintiff's Motions for Reconsideration (Docs.
                        No. 139, 145, and 153) are DENIED. The
                        Plaintiff's Motion for Reconsideration (Doc.
                        No. 147) is GRANTED IN PART. The defendants
                        are ORDERED to submit an affidavit confirming
                        that the copies of the protective orders,
                        located at Exhibit C (Doc. No. 102 -1), pages
                        6-10, submitted in response to Whitnum's
                        document requests, are complete and accurate.
                        If the submitted documents are not complete and
                        accurate, the defendants shall file a
                        correction of any error along with a statement
                        showing cause why the error should not result
                        in sanctions. The defendants shall submit said
                        affidavit or correction and statement by April
                        1, 2019. Signed by Judge Janet C. Hall on
                        3/22/2019. (Lewis, D) Modified on 3/27/2019
                        (Lewis, D). (Entered: 03/22/2019)




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This litigant highlights the following in the full written order which is annexed (Current

Exhibit C:

        However, Whitnum provides no support, in either filing, for a finding that there is
        new, previously unavailable evidence, to support her Motion to Cite in John
        Whalen and Jane Emons. Nor has Whitnum provided any basis to conclude that,
        in denying Whitnum's attempt to join parties to this case at this juncture, when
        motions to join parties were due by October 11, 2017, see Order (Doc. No. 79),
        the court committed a clear error or manifest injustice. The Motions for
        Reconsideration (Doc. Nos. 145 and 153) are denied.

4.      This is patently false and clearly the attached evidence was overlooked to protect

Jane Emons, Judge Hall's personal friend. Judge Hall states, "Due by October 11,

2017!" An impossible benchmark, as this litigant did not get proof until October 29, 2018

- a year later. The defense drags its feet and this litigant is punished for it? That is not

fair.

5.      Secondly, this litigant draws the Second Circuit's attention to the original motion

that was filed and the evidence submitted with it which was the newly disclosed police

report dated September 17, 2013 and produced in October 2018, on the penultimate

day of discovery. It is the very same piece of evidence supplied to Judge Janet Hall in

the Motion for Reconsideration (Current Exhibit B with the attachment of Exhibit E). For

this judge to state the following is outrageously false:

        "Whitnum provides no support, in either filing, for a finding that there is new,
        previously unavailable evidence, to support her Motion to Cite in John Whalen
        and Jane Emons"

6.      The Woodbridge Police report of the investigation prior to the unlawful arrest is

very clear of Jane Emons' involvement in the unlawful arrest. The following is cut

directly from the Motion for Reconsideration referring to Exhibit D of that Motion

(Current Exhibit B):




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         15.     . .. In the 2015 arrest for the violation of a protective order, a protective order that
         was not valid at the time of the arrest. The newly produced report of Judicial Marshal
         Kirchner and his prodding in August 2015 (Exhibit B), the two police officer defendants
         for arrest, is proof positive that Emons knew that there was no active protective order,
         that she knew the protective order was based on a bogus ring and run which she
         orchestrated in 2013. In 2015 she lied to Kirchner and he then lied to the Woodbridge
         police officers about the nature of the protective order. Emons did this through a third
         party Kirchner on purpose. She lied; he clearly unknowingly did her bidding. Emons
         needs to be cited in for her role in the 2015 arrest and the lie to Kirchner.


7.      The entire Motion for Reconsideration and the attached exhibits (Exhibit F) has

been annexed. The evidence is contrary to the words of Judge Hall. The evidence is

as clear as it can be and yet, to reiterate, Judge Hall states in her recent order:

        However, Whitnum provides no support, in either filing, for a finding that there is
        new, previously unavailable evidence, to support her Motion to Cite in John
        Whalen and Jane Emons. Nor has Whitnum provided any basis to conclude that,
        in denying Whitnum's attempt to join parties to this case at this juncture, when
        motions to join parties were due by October 11, 2017, see Order (Doc. No. 79),
        the court committed a clear error or manifest injustice. The Motions for
        Reconsideration (Doc. Nos. 145 and 153) are denied.


A simple look at the motion for Reconsideration (Current Exhibit B) and specifically the

exhibits D and E in the motion proves that in 2015, a lie was told to Judicial Marshal

Kirchner by Emons and that lie was further told to the Woodbridge Police regarding the

protective order and that is was recently disclosed.

8.      A possible other motivation: Judge Janet Hall may be protecting Emons out of

fear she may incur the wrath of Emons' powerful constituent group. Emons is uber-rich

with a solid double digit millions net worth. Emons' wealth, Emons' former status as a

judge, Emons' husband's power, this litigant believes, may be what motivates Judge

Janet Hall to not allow Emons to be compelled to answer questions, to not be cited




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despite the evidence, and to issue the order to change the Amended Complaint to keep

Emons out of it.

9.      During the February 2019 testimony Judge Janet Hall employs the judicial trick to

fall on the schedule in order to avoid having to rule to allow Emons to be deposed. She

also acknowledges Kirchner's role. Please read the attached transcript excerpt (Current

Exhibit D pages 42 through 44.):

              THE COURT: ... This case relates and these
              two defendants are sued for arresting you in 2015 based
              upon what I think you believe and you may be right but
              what you believe was a terminated protective order. In
              other words, a protective order that wasn't in effect so
              they had no basis to arrest you. No probable cause. And
              so that's what I would like you to focus on in the
              deposition for these two officers.

               MS. WHITNUM: But, Your Honor, there is, okay,
               maybe I don't have a strong legal argument to cite in
              John Whalen in 2015. But in 2015, jane Emons was wholly
               instrumental, the Woodbridge Police had already done an
               investigation that I did not ring her bell and run back
               in 2013. She put up Marshal Kirschner, and I didn't find
              this out until the penultimate day of discovery that she
              put up Marshal Kirshner who is a judicial marshal, to
              call up the Woodbridge Police Department. These poor
              guys I feel badly for them. I didn't mean to drag them
              into this. They were totally manipulated by Marshal
              Kirshner who was quite unabashed, according to Officer
              Karuther was put there by Jane Emons. These officers
              only knew what they were told. They are not telepathic.
              The problem is by not citing in Jane Emons,
              okay, by not citing, now should they have investigated
              when I was telling them you're wrong. There's no active
              protective order. This protective order was bogus from
              the get-go and based on an investigation that you guys
              had already concluded I was not guilty. They didn't
              believe me at the time. They believed people with
              position and authority. I'm a nobody. Jane Emons lied
              to Kirshner who then lied to the police officers. The
              police officers were negligent in not doing their
              investigation and believing me but you cannot, Your



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               Honor, you cannot not include Jane Emons and Marshal
               Kirshner, Kirshner needs to be deposed. He was the one
               who told the police officers that the protective order
               was not based on what they had already investigated and
               concluded -

               THE COURT: Why didn't you depose them a year
               ago?

               MS. WHITNUM: Because I just got the document
               the penultimate day of discovery. I have no way of
               knowing Marshal Kirshner's involvement. I had no way of
               knowing. Marshal Kirshner was put up to it --

               THE COURT: I'm looking at an arrest warrant
               application. I believe signed by Sergeant Cappiello, one
               of the defendants. It is dated August 5, 2015. He
               swears -- actually it is Officer Crowther being sworn and
               deposed, et cetera, et cetera. Then he says paragraph 1
               on Friday, July 31, 2015, this affiant received a call
               from Robert Kirshner who is in charge of the Superior
               Court operations. That he was notified by the victim
               Jane Emons. I don't know. When you are charged in state
               court, don't you get discovery? You never got a copy of
               the warrant application?

              MS. WHITNUM: Your Honor, that is another motion
              that's coming. Okay. I never got any of the
              documentation. When I was there to turn myself in they
              gave me the arrest record. That report that you read
              from I got it from him the penultimate day of discovery.
              During discovery. I didn't have it. I don't know. Do
              you think that when I went there --

              THE COURT: I have to interrupt you. I
              scheduled this for 30 minutes. I have a 12:00 conference
              call in my chambers in a criminal matter so I have to
              recess.



10.     To be clear, the protective order was based on the utter nonsense started by

Jane Emons, who claimed this litigant rang her bell and ran at "20 minutes to one" and

at 1:38 am on the early morning hours of June 22, 2013. What this litigant is claiming is



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an absolute lie and a criminal frame. Due to Emons power, charges were levied against

this litigant. A protective order was based on the ring and run - this despite the fact that

the Woodbridge Police had administratively closed the case on September 17, 2013

after a three-month investigation. Assistant Chief State's Prosecutor John Whalen

picked up the case even after the case was closed. Whalen piled on additional charges

and when asked by this litigant his motivation he stated the he was there for Jane

Emons, his "buddy of 35 years since we were both prosecutors."

11.      The lie by Marshal Kirchner to the Woodbridge Police was instrumental to this

litigant's arrest. Had the Woodbridge Police been told the truth by Marshal Kirchner,

that the protective order was based on the ring and run, they would have believed this

litigant and she would have avoided arrest as the Woodbridge Police was the

investigative agency for the ring and run and determined on September 17, 2013 that

there was no connection to this litigant and Jane Emons' doorbell.

12.      This is all clearly described in the attached evidence that was submitted with the

Motion for Reconsideration. Since Judge Hall has selective blindness this litigant will

spell it out again. Referring to the already submitted evidence, Kirchner states the

following as told by the officer in his August 2015 report (Current Exhibit B sub-exhibit

E), a report that was not given to this litigant until October of 2018. It states:

        1. That on Friday, July 31, 2015, this Affiant received a call from Mr. Robert
        Kirchner who is in charge of Superior Court Operations for the State of
        Connecticut. Mr. Kirchner told this afflant that he was notified by the victim,
        Judge Jane Emons, that on Thursday, July 30, 2015, the victim received in her
        mailbox at her residence in Woodbridge, a document addressed to her with the
        return address of Whitnum, P.O. Box 7482, Greenwich, CT 06836.
        2. That Mr. Kirchner told this Affiant that there is a "54-1 K Order of Protection",
        which lists the victim as the Protected Person, and Lisa Whitnum-Baker, d.o.b.
        June 23, 1960, as the Respondent. Mr. Kirchner said that the victim has been
        harassed at her home in Woodbridge, Connecticut by Whitnum-Baker in the past,



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         and has been arrested by the State Police for an incident that warranted this
         Order of Protection. This type of order
         specifically addresses harassment and stalking. The order was signed by a
         judge and issued July 9, 2013 out of New Haven Superior Court, G.A. 23, reads
         in part, "Do not contact the protected person in any manner, including by written,
         electronic or telephone contact, and do not contact the protected person's home,
         workplace or others with whom the contact would be likely to cause annoyance
         or alarm to the protected person." A second similar order was issued out of
         Bridgeport Superior Court on October 25, 2013; it is signed by a judge and lists
         the same "Terms and Conditions of Protection".
         3. That on Friday, July 31, 2015, this Affiant spoke with the victim who stated that
         on Thursday, July 30, 2015, her husband called and told her that when he
         retrieved the mail from their mailbox which is at the mouth of their driveway near
         the road, among the mail was a medium-sized manila envelope addressed to
         her. That when the victim's husband opened the envelope, he saw that it
         contained a multiple page leg~I document of an "Emergency Motion for
         Injunction". The document was dated July 27, 2015, and was supposedly filed in
         United States District Court-District of Connecticut.


13.      The balded words above are the lie. Drawing the Second Circuits attention to the

following exact words:

         "arrested by the State Police for an incident that warranted this Order of
         Protection. This type of order specifically addresses harassment and
         stalking."


This is a blatant lie that Judicial Marshal Kirchner, doing Emons' bidding, stated to the

Woodbridge Police. The event that "warranted" the Order for protection was NEVER

the result of a State Police arrest for an "incident that warranted this Order of

Protection", but instead was the result of the harassment and stalking charge for the

bogus, June 22, 2013 ring-and-run - the very ring-and run the Woodbridge Police had

found no link to this litigant.

14.      To reiterate for clarity: If Marshal Kirchner had told the truth, instead of lying or

being tricked into lying by Emons, the Woodbridge Police would never have arrested

this litigant (this ignored the fact that there was no active protective order at the time of



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the arrest and the second fact that this litigant should never have been arrested for

violation of the protective order for her assistant mailing court documents to a named

defendant, something she is required by statute to do).

15.      To reiterate, the Woodbridge Police had determined on September 17, 2013 after

a three month investigation that this litigant did not ring the bell and run at the home of

Jane Emons. Despite that fact, John Whalen, Emons' friend picked up this case, piled

on charges and continued the prosecution for three more years. This litigant was forced

to take an Accelerated Rehabilitation for first time offenders rather than face trial. This is

at the 41 st court appearance after this litigant had tried to have more than six Motions to

Dismiss heard but John Whalen would not allow them to be heard, burying the evidence

which is a Brady Violation.

16.      In all, the bogus charges cost this litigant, in every possible way, from the

destruction of her good name to four years of lost salary as a teacher as she could not

work with pending charges.

17.      Discovery must continue as Emons and Marshall Kirchner's role are pivotal. For

Judge Janet Hall to claim the following is outrageous. She is either not keeping up or

she is displaying selective blindness to keep her friend Jane Emons out of the case.

        "Whitnum provides no support, in either filing, for a finding that there is new,
        previously unavailable evidence, to support her Motion to Cite in John Whalen
        and Jane Emons."

The new evidence is this very report that details Emons and Kirchner's role. It was not

previously made available by the defendants or the defense, if it had been this litigant

would have known it existed. This litigant is not telepathic.




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18.       This litigant had gone to the Wooldridge Police Department and asked for all the

police reports and she was never given this one which is an internal investigation. This

litigant cannot be held responsible for what she was never given until the penultimate

date of discovery (October 2018). Judge Hall stating the above is to reward the

Defendants for being less than forthcoming. Also, Judge Hall is holding this litigant

responsible for the defendants' failure to provide all discoveries.

19.       This litigant feels forced to file a Petition for Writ of Mandamus as she feels this

judge is quite simply not paying attention or purposefully wearing blinders in order to

throw the case and keep her good friend, Jane Emons, out of harm's way. She may

also have the added motivation of hurting this litigant.

Ill.      Refusal to answer the Open Motion - more than 90 days old.

20.       To reiterate: Judge Janet Hall is motivated to protect Emons, she has refused to

answer the Motion to Disqualify and the simple question of 'how well do you know Jane

Emons' and to please transfer the case to another venue in Connecticut (or to another

state) or to another judge in Connecticut who is non-biased and not personally

acquainted with Emons or her husband. This judge claimed in open court on February

5, 2019 hearing that she is impervious to intimidation and not throwing a case for friend

and she sites her job security a reason. Please see the excerpt (Exhibit B).

          MS. WHITNUM:      ... These are powerful people and they are all
          lawyers and they know the game. The only thing that's going
          to get them to answer questions is someone who can peel the
          layers of friendship, of camaraderie, of cocktail party
          camaraderie and say to John Whalen, sir, this police report
          differs from her phone records. Isn't it true, sir, that
          you altered her phone records on your report 2013-213?
          That's very, very hard. You're asking for the second
          highest law enforcement person in the State to admit he
          criminally framed a political candidate for a friend. That
          is monstrously huge. I understand the situation you are in



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       which is why I asked you please, please, allow this case to
       be transferred to New Jersey or New York. It's too
       dangerous even for me. Please transfer this. You get to
       wash your hands of it. You keep your friendship circle.
       There's nobody mad at you. Everything is good. We need
       justice.

       THE COURT: Do you know I have lifetime tenure?

       MS. WHITNUM: I know that.

       THE COURT: I don't care when people are mad at me. It is
       the beauty of the federal system. Unlike the state system.
       People are always mad at me. They don't like my rulings. I
       ruled against them. Why didn't I rule for them. It doesn't
       matter to me because, you know, I'm here and I will be here
       tomorrow and what people think is really not what drives a
       federal judge. I understand you don't agree with my
       rulings. And I could be wrong, you know, I'm not perfect
       but there's absolute. That's the beauty of the federal
       system. I just am not. I don't really care what people
       think. I hope they think I'm thoughtful and that I listen
       and that I spend time to try to figure out what's the right
       answer. Might not always get it right but I try. At the end
       of the day, that's all that matters to me ...


21.    Hum, seems this judge doest protest too much. As much as Judge Janet Hall

insists that she is impervious to people being mad at her, there may be a much larger

picture going on: Fear of the dreaded anti-Semitic label. Emons is part of a powerful

constituent group. Emons and her friends during her failed judicial reconfirmation

hearing on February 16, 2018, labeled Emons' detractors as "anti-Semites." This litigant

believes that Judge Janet Hall, in the same way Judge Underhill was afraid, is afraid to

rule anything against this powerful member of the Jewish Community. The fear of the

anti-Semitic label cuts across all other fears. It is a phenomenon described in a 2004

Occidental Quarterly Kevin Macdonald PhD talks about this common practice




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among member so the Jewish Community in an article "Understanding Jewish

Influence" in the introduction Samuel Francis PhD writes:


        "What MacDonald offers largely explain why so many Jews
        have reacted so strongly to any perceived threat, why
        they tend to perceive even innocuous remarks and actions
        as threatening, and how they coordinate and mobilize
        financially, political, and public opinion recourse to
        crush what they perceive. What his theory does not
        explain is why non-Jews put up with it and go along with
        it ..... "Jewish influence amounts to very little if those
        over who it is wielded recognize it and reject it."


22.    It is the same reason the press in Connecticut failed to report that Emons lack of

judicial reconfirmation in 2018, a first in Connecticut's 275 year history, was due to her

behavior but instead painted her detractors, many who were parents kept from their own

children, as "anti-Semitic."

23.    For the history: This litigant was a candidate for US Senate, US Congress and

Governor was proudly against the US funding of Israel as counterproductive to the

wellbeing of the United States. She believes Emons targeted her for that reason and

used her power to hurt her in any possible way. That power included the conspiracy

with or the manipulation of the Woodbridge police to get an unlawful arrest.

IV.    INFLUENCE PEDDLING SEEMS TO RUN THE CONNECTICUT JUDICIARY

24.    As a minor political candidate, now retired, this litigant has suffered terribly in

Connecticut, she believes, for stating the facts on Israel. Egged on by members of a

powerful constituent group, the States Attorney, fought very hard to incarcerate this

litigant. This litigant found herself facing 14 years in jail for 9 charges that were not

crimes, or crimes orchestrated by Emons and/or Whalen. Crimes, she could prove she

did not commit, but no judge would hear one of six motions to dismiss. The press failed


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 to cover the truth. This litigant fought hard not to go to prison and suffered 41 criminal

 court appearances before taking a plea deal for first time offenders rather than face trial

. in the lawless Connecticut court system. As a fledging candidate in the U.S. this litigant

 has suffered in every possible way for not regurgitating the AIPAC talking points. It is an

 unbelievable story for another day. Truly the only taboo in the U.S. is speaking of

 anything Israel related in less than glowing terms; you are either pro-Israel or an anti-

 Semite - no middle ground.

 25.    This litigant has always stated that she believes Jane Emons' motivation was to

 hurt her in any possible way for her political beliefs. Not only was this litigant kept from

 her husband, the financials never produced, conciliation unethically denied by Emons

 which was this litigant right by 46(b ), and railroaded into divorce without a private

 conversion with own infirmed husband for 14 months leading up to the divorce.

 Railroaded into divorce and awarded not even a dime despite being married to a man

 worth $5 million. E:mons, still not satisfied, next claimed this litigant rang her bell and ran

 and had her friend prosecute (Assistant Chief States Prosecutor John Whalen) this

 litigant up for 41 criminal court appearances and costing her 4 years of salary as a

 teacher (Whalen was fully aware of this fact). All this for an alleged crime that had been

 already "administratively closed" by the Woodbridge Police on September 19, 2013.

 26.    This litigant believes Judge Janet Hall is doing her friend Emons a favor or Judge

 Hall may be afraid of offending Emons' powerful constituent group. In 2018, Emons was

 not reappointed as a judge, a first in Connecticut history for her role in keeping parents

from their children and other violations. Many people have described her as cruel.

 Despite, the press publications in Connecticut all reported that Emons wags the victim




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of her detractors. Some even reported she was the victim of "antisemitism" one author

a Mr. Pazniokas stating "first they come for the Jews." It was a ludicrous reference and

charge, the parents and litigants aggrieved were not motivated by anti-Semitism.

Emons was the victim of her own actions.

27.    Representative Minnie Gonzales said it best during the February 16, 2018

judicial reconfirmation hearing. She pointed out that despite more than 20 judges

present for their re-nomination hearing on February 16, 2018, the mountains of

complaints were about Judge Jane Emons. "I received email after email and all were

complaining about you," said Rep. Minnie Gonzales to Judge Jane Emons. Gonzales is

referring to the many people, not just Whitnum, who have been hurt by Emons and who

have complained about her. Gonzales also refuted the anti-Semitic claims stating to

Emons about Emons, that none of the letters mentioned "your religion or culture."

V.   THE FORCED ALTERING OF THE AMENDED COMPLAINT TO REMOVE
ANY REFERRENCE TO JANE EMONS EVEN THOUGH SHE WAS INTERGRAL TO
THE UNLAWUL ARREST

28.    Currently under interlocutory appeal at the Second Circuit is this litigant's fight

for the ability to amend the complaint to encompass the discovery provided on the

penultimate day of discovery should have been litigant's right. Judge Janet Hall issued

an Order (appeal #19-53) (Current Exhibit F). In this litigant's Amended Complaint she

told the history but Hall's order was to remove all references to Emons from her

Amended Complaint. There was no good reason provided as there is no good reason

other than prejudice. This goes directly to the gravamen of this Petition for Mandamus,

which is to compel Judge Janet Hall to address #125 on the docket. Judge Hall has

refused to detail her relationship with Jane Emons, a woman whom this litigant is




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seeking to site into the case (since the production of the document detailing her lie to

Kirchner). Hall has refused to detail her relationship. Why won't Judge Hall answer this

open motion?

II.       LAW AND ARGUMENT

             The writ of mandamus can also be issued in a mandamus proceeding,
             independent of any judicial proceeding. Generally, such a petition for
             a mandamus order is made to compel a judicial or government officer to
             perform a duty owed to the petitioner.


Ill.      CONCLUSION

30.       The gravamen of the motion to transfer is the request that Judge Hall detail her

relationship with Jane Emons and answer the motion.

11/28/2018 -
           125
             -             MOTION to Transfer to Another District - a
                           district in New Jersey by L. "Lee" Whitnum.
                           (Whitnum, L.) (Entered: 11/28/2018)


It is a simple question more than 90 days old and Judge Hall refuses to answer it. The

Second Circuit must please compel:

       1. Judge Janet Hall, answer the above open motion, and when she does, her

          obvious admittance that she is Emons' friend should require recusal.

31.       In a fair judicial system, the additional interlocutory appeal at the Second Circuit

must be allowed to be answered before Summary Judgement replies as it effects the

outcome of this case. To reiterate: Judge Hall refuses to cite in Emons, she refuses to

allow the Amended Complaint to encompass cause of action effecting Emons' and role

and citing in, she refuses to accept newly discovered discovery (motion to open) and to

allow this litigant to act on it.




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32.    This litigant is asking that this court issue an order to: "compel a judicial or

government officer to perform a duty owed to the petitioner. To answer the follow open

motion #125. And if there is an admitted friendship between the two women, compel

Janet Hall to step down as her clear prejudice is unacceptable.

Sincerely,
s/L. Lee Whitnum




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                                      CERTIFICATION

       I hereby certify that on April 22, 2019, a copy of the foregoing was filed

electronically and served by mail on anyone unable to accept electronic filing.

Kirsten & Tallberg, LLC
500 Enterprise Drive, Suite 4B
Rocky Hill, CT 06067


Notice of this filing will be sent by e-mail to all parties by operation of the Court's

electronic filing system or by mail to anyone unable to accept electronic filing. Parties

may access this filing through the Court's system.

Sincerely,
s/L. Lee Whitnum




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Exhibits for Petition for Writ of Mandamus
CURRENT EXHIBIT A
Motion to Transfer dated November 28, 2018

CURRENT EXHIBIT B
    Motion for Reconsideration (136) Of Motions (106 & 107)
    Exhibit A - Revised Order of Protection dated 10-25-2013
    Exhibit B - Original Order of Protection dated 7-9-2013 based on bogus ring-and-
    run
    Exhibit C - Court documents that state, with open end, Protective orders expire
    in one year
    Exhibit D - Woodbridge Police report administratively closing the ring-and-run. 7-
    2013
    Exhibit E -Woodbridge PD dated 8-5-15 which shows Kirchner and Emons input

CURRENT EXHIBIT C
    The 3-22-19 Order

CURRENT EXHIBIT D
    The transcript dated February 4, 2019

CURRENT EXHIBIT E
    The Order which limited the Amended Complaint to exclude all references of
    Jane Emons.
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                            UNITED STATES DISTRICT COURT
                              DISTRICT OF CONNECTICUT

L. LEE WHITNUM
Plaintiff                                                   No. 3:17-cv-1362(MPS)
v.
Town of the Woodbridge, et al.                              November 28, 2018


                                         MOTION TO
                                         TRANSFER


1.       This litigant is requesting that this case be transferred out of Connecticut to

Federal Court in New Jersey as this litigant does not believe, based on experience, that

it is possible to get a fairy trial in Connecticut.. If the Hon. Janet Hall refuses to transfer,

this litigant believes it would be appropriate for Judge Janet Hall to answer some

questions, please, on whether the Court can non biased regarding disgraced former

judge Jane Emons - and also, please touch upon the Complaints of Judicial Misconduct

against Federal Judge Underhill. This litigant has had a six year extreme contentiously

relationships with Emons and Underhill. Really transfer is appropriate as this litigant

believes a fair trial in this matter cannot be had in this state.

2.      Ms. Hall lives in the New Haven Area as does Emons. Judge Hall was probably

aware of the Billboard on Route 91 about Emons and no-doubt she drew a conclusion

about Emons' lack of reconfirmation. As the highest ranking federal judge, Hall must be

aware of this litigant's six-year contentious battle with Underhill.

https://www.leewhitnum.com/underhill.html

3.      Earlier this month Judge Kari Dooley stepped down based clearly on a working

relationship with Jane Emons. This was the result of this litigant receiving subpoenaed

evidence by the State Police and was surprised to see "Dooley, Kari" on the cc list from
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February 22, 2018! This litigant brought this to Judge Dooley's attention and she

stepped down.

4.      This is a reminder of a very serious problem this litigant has faced over-and-over

again: can this litigant get a fair trial anywhere in the State of Connecticut. In three

court cases this litigant has been denied the Requests for Production to make her case

against Emons or the Statewide Prosecution Bureau. Clearly the judges are protecting

one of their own and the state players. Those three cases have been dismissed for

various contrived reasons and they are hanging in limbo as this litigant fights to bring

them back. All of this is the result of judges who are clearly biased in favor of the state

players.

5.      Jane Emons has proven to have no hesitation in going behind the scene to call

on police agencies and other judges in order to get her way. Emons has clearly

habitually demanded they do her bidding. Officer Thomas Keily of the State Police is, to

date, the only police officer who refused to arrest on demand or do Emons' bidding.

The most extraordinary example of this is the report by Office Crowther of the role of

JUD Marshal Kirchner who allegedly lied to the Woodbridge Police about the reason for

and the status of the protective order, it was that lie that brought about the unlawful

arrest as defendants based their arrest for violation of protective order based on

Kirchner's words clearly egged on by Emons and her husband. If with full knowledge -

that in conspiracy, without negligence, or perhaps both

6.      This is the gravamen of this case but the situation of the powerful sticking up for

the powerful in violation of the stated law, has presented itself over and over again.

This litigant believes as soon as Judge Janet Hall was given this case she was probably
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called by Jane Emons as Emons has no problem going behind the scenes to get her

way. She may also have sent a friend to do her biding.

7.      This litigant would like to make the following fact clear: Emons is NOT the victim

of her detractors, she is a predator and this litigant is not the only person whose life

Emons has destroyed. Support for Emons seems to be drawn on two fronts: racial

lines as the editorial by Joette Katz. And judges, who are clearly sympathetic to Emons

or scornful of this litigant. This based on the circulated file and scuttlebutt - that is

documented on the record - by three judges and counting. The scuttlebutt is so rampant

that this litigant asked, in a recent motion, for the disqualification of Judge Povodator

based on his admittance of being privy to hearsay. More about that later.

8.      This litigant has suffered a great deal. It has turned out to be six years and

counting of full-time legalities trying to fix all the ills and fallout caused by Emons and

Underhill in this litigant's life - if it is at all possible. Is it possible to get past the

destruction of this litigant's life and her good name? Justice is the only cure and that is

what this litigant is asking for. Make the guilty pay. Expose the truth - no matter how

many wealthy political factions of our state kick and scream. This litigant does not

believe it is possible. Judge Janet Hall has to live here - she had to socialize with

peers. And doing it by the book is difficult when it means standing up for someone who

is as unpopular as this litigant. This motion gets this judge off the hook. Please transfer.

9.      The Court should not take offense at this. We are all only human and this litigant

has so many examples of Emons behind the scenes antics she scarily knows where to

start. At her 2-16-2018 reconfirmation hearing Sen. Kissel was very clear that Emons

had talked to him about the alleged ring-and-run. That bogus charge is the reason for
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this case. This litigant has always maintained that she never rang the bell and ran at

the home of then Judge Jane Emons on June 22, 2013 or at any time in her life. This

litigant runs for public office and her life is an open book. If she has something to say,

she says it. What would ringing a bell and running accomplish?

10.    Here is the televised testimony of Emons' reconfirmation hearing; all of the single

spaced quotes are from this testimony. http://ct-n.com/ctnplayer.asp?od1D=15000

       February 16, 2018 aa JUDICIARY COMMITTEE 10:00 A.M. PUBLIC HEARING


       SENATOR KISSEL (7TH): ... Let me move on to something else that came to my
       attention in speaking with you yesterday and that's the first time we ever met. Is
       that correct?

       HONORABLE JANE 8. EMONS: Yes, absolutely.

       SENATOR KISSEL (7TH): You had communicated to me and we don't need to
       go into specific cases but there was at least one instance where a disgruntled
       litigant contacted you in the middle of the night at your house. Would you, without
       naming the case or the individual, can you explain what happened there?
       Because, again, I've had constituents who are upset with me for one reason or
       another on occasion they have come to my house and I have to tell you once my
       personal space with my children and my wife is invaded, it gets a little troubling. If
       someone wants to stand here in the LOB and say, Senator Kissel, you're the
       worst senator in the world. I guess I'm putting myself out there and that's fair
       game but once they come into the area that I consider safe for my family, then
       it's a little different, and so tell me what at least -- there was at least once
       instance and if you could just without naming the individuals of the case, what
       happened?                                         ·


11.    Emons had clearly talked to Sen. Kissel about this litigant before her

reconfirmation hearing! This is classic Emons and her behind the scenes manipulation.

She probably talked with all of them. This litigant makes clear: This litigant did call

Jane Emons on May 15, 2013 after being kept from her own husband and unlawfully

denied conciliation. This litigant pied guilty and paid the disorderly conduct fine of $85,
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she was a first time offender. Why would a 53-year-old housewife, a teacher call

distraught. What would make someone crack like that? Injustice and grief. At that point

this wife had been kept from her infirmed husband by Emons for 14 months this litigant

paced every night not knowing if her husband was dead, alive, strapped down, grieving

for her, drugged. All contact denied. On July 16, 2012 Emons quashed the conciliation

which was court ordered by the Robert Villacis the clerk.

12.    The day after the phone call, this litigant apologized and paid the $85 disorderly

conduct charge. Because Emons wanted more charges pressed she allegedly

orchestrated the ring-and-run allegation on month later on June 22, 2013. This litigant's

phone records exonerated her as she was two hours south in New York City that night.

But that didn't stop Emons from talking to Kissel; about it. Despite the fact that the

Woodbridge Police on 9-19-2013, determine that this litigant did NOT ring Emons' bell

on June 22, 2013. Stating the following in the police report of that day:

       "Based on the lack of further details or other pertinent information it is
       recommended that active investigation of this incident be suspended at this time
       and that this investigation be considered Administratively Closed."

Emons still talked with Kissel about the ring and run as Kissel states: "come into the

area that I consider safe for my family." She goes on to talk about the phone call first

but Kissel's choice of words, is proof positive she also bent his ear on the alleged ring

and run. An event this litigant did not do, could prove she did not do, and yet no judge

in the Norwalk courthouse would hear a motion to dismiss. This litigant has made the

evidence public at:

https://www.leewhitnum.com/proof.html
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13.    This litigant's phone records proved she never rang Emons bell and ran but that

did not stop law enforcement under Emons' alleged direction from putting this litigant

through 41 criminal court appearance across 3 ½ years and adding to what is now six

years of legal hell in the quest for justice. This litigant is still smeared all over the

internet as a woman who stalked a judge - only that never happened - this litigant can

prove it never happened but no one is listening. This litigant worked her entire life,

keeping her good name clean, going to college and Harvard for a masters degree only

to have her good name and her life ruined by Jane Emons and powerful judges, cops

and state employees willing to do her bidding. The press certainly hasn't helped in their

refusal to print the truth just regurgitating over and over gain 'Whitnum was arrested for

stalking a judge." Heartbreaking - an event that never happened. This litigant can

prove it never happened and yet no one - not one judge and not one member of the

press will listen. The proof of is even filed online for the public to read:

https://www.leewhitnum.com/proof.html

14.    The scuttlebutt is rampant. In the Povodator press release of the corresponding

motion, Povodator admits on the record of being privy to scuttlebutt. Judge Hall is

mentioned, only in passing, in this press release which is published. Please read it, as

the scuttlebutt and hearsay is a real issue.

https://patch .com/connecticut/greenwich/whitnum-asks-judge-povodator-recusal-jane-
emons-whalen-case

Before this litigant moves onto more proof of Jane Emons behind the scenes antics, she

would like to talk about Emons' practice of keeping loved ones apart (as she did in the

case of this wife and her husband) until people without priors break the law with a

desperate phone call to beg for access or in the case of parents, custodial interference.
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You seek the court to get justice and what you get is abuse. This litigant wishes she

could go back in time and hire a Blackwater team to rescue her husband. She believed

in justice, what a mistake.

15.    The bottom line is that Emons abuses. Here is another example of a man who

was unlawfully kept from his own children by Emons for 15 months before bringing in all

kinds of state agencies. This is Emons' own words from the testimony:

          Having said that, as I mentioned in this paragraph, I
          received an ex parte custody application from Mr.
          Manchanda's ex-wife indicating in it that Mr. Manchanda
          called the Guilford police and indicated to them that he
          was on his way to Guilford with an armed bodyguard to
          retrieve his two young children and bring them to New
          Jersey for the weekend.
          Now, my memory, if it's correct, something like a year
          15 months, perhaps -- where he had not seen his children.
          I granted the ex parte application giving the ex-wife
          custody and that began the process. Prior to coming to
          court, Mr. Manchanda filed two grievances, that he also
          copied to recipients such as the CIA, the FBI, the Hauge
          Convention, the U.S. Commission Against Torture, the New
          Haven FBI, the New York FBI, and a number of people, some
          media references and people that I certainly don't know
          and that was the first two. They came for a hearing. He
          was nothing but a consummate gentleman in the court at
          all times. There were never any disagreeable words. He
          came to an agreement with his ex-wife that he would do
          supervised visitation at Southern Connecticut State
          University to reestablish a relationship with the
          children. That's as far as we got. I approved and so
          ordered his agreement


16.   The FBI! The Hauge Convention! Well if Emons hadn't kept this Mr. Manchanda

from his children for 15 months perhaps he would not have needed to call in the CIA,

The FBI, US Commission against Torture, etc. Finally Emons approved the agreement,

well only after so many agencies were clearly bothered. Injustice begets more and

more legal actions. What a herculean effort it took. Why did she keep a man from his
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children? Why indeed. Emons loves her job. In her own words. This litigant believes -

she loves it a little too much.

17.    Emons kept the four-year-old Myers child who was finally mysteriously returned

to his father after two years! That child never would have been returned had Emons not

been taken out of power. Children kept from parents - how incredibly cruel. The

testimony of one the Myers' kids attorneys and Emons violation of general statutes are

available:

https://www.youtube.com/watch?v=uw3S8IAsXo

Atty. Greenan

https://www.youtube.com/watch?v=TFQZWm37jSM

Atty. Garlinghouse

18.    This litigant's situation, where Emons allegedly goes behind the scenes and pulls

the necessary strings, maliciously and predatorily to get her way. Others were not as

outspoken as Mastrangelo but they make their experience known to the legislators

which is one of the reasons why Emons is no longer a judge.

19.    The silent ones, the shell-shocked ones are the most heartbreaking. In the

attached letter this litigant received from a sweet woman clearly traumatized who now

lives in Texas. She fled Connecticut due to Emons. If this judge questions the veracity,

this litigant would be happy to provide the contact name to this judge under seal. For

the purpose of this motion this woman will be called "Texas Mom." Emons manipulated

the Branford Police using her power which greatly harmed this poor woman,

traumatized her so much so, she fled the State of Connecticut and now lives in Texas.
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In this case the Branford Police did Emons' bidding. Here is Texas Mom's story in her

own words:


          Subject:
          Perversions and abuses of power
          Message:
           I admire your spirit, your perserverance and your heart. Emons had the
          Branford PD cross city lines, into New Haven, against court ordered
          residency, and aid my ex in his kidnapping of my, then 5 year old daughter.
          The police action was done as a personal favor. Emons then put in place over
          a month long ex parte order (meant to last only 2 weeks). My daughter was
          then completely isolated with her father, who has a extensively documented
          violent and psychotic history and had been recently committed. Emons did
          this against my daughter's court ordered Yale PhD's advice. Emons then
          ORDERED that no one involved was allowed to ever speak to Yale. Yale
          attempted to protect my daughter to the best of their ability, but were thwarted
          by Emons. Clifford Beers family advocates and care coordinators also
          attempted to assist my daughter. My daughter was severly traumatized and
          remains a changed and fearful child. Def refused to enter her fathers home,
          stating that he was "too aggressive" and not trusting their safety to the
          Branford PD as escort. Additionally, Ct state troopers removed my ex's pistol
          permit due to his threats to the state to shoot state troopers. The story sounds
          insane, but unfortunately seems not to be an isolated case. I now reside in
          Texas, having left CT due to the systemic abuse my family was suffering
          under Emons "justice." If I can be of any assistance to any of the families, or
          yourself, you are very welcome to any help I can provide. I would be happy to
          produce any documentation needed to keep Emons from harming another
          child or family


20.    So the Branford Police on "special favor" from Emons destroyed Texas Mom's

life in the same way Emons destroyed this litigant's life and the lives of so many others.

This is evidenced by the fact that the first time in 275 years a Superior Court judge was

not rubber stamped into power based on the receipt of more than 150 private emails to

legislators asking that Emons not be reconfirmed. In the words of one senator "very

credible letters." Emons is no longer a judge because so many people complained

about her. It took a Herculean effort to get her out because there are no checks and
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balance in Connecticut. Multiply the experiences of this poor woman above and this

litigant's experience by a hundred plus people who wrote to their legislators complaining

about Emons.

21.    The Branford Police (in the case above) did Emons' bidding as a special favor.

Cappiello, Crowther, Marshal Kirchner, and John Whalen (in this case) also did Emons'

bidding - even judges. This was all contrary to the stated law, devoid of true facts but

that didn't stop law enforcement from terrorizing this litigant clearly at the behest of Jane

Emons. Officer Keily of the state police wasthe only law enforcement officer who

refused to do Emons bidding. This brave and strong young man, put Emons right in her

place. He repeatedly refused to arrest this litigant for going to the courthouse for her

divorce instead encouraging her to modify the bogus protective order to allow court

access. (The protective order was based on the ring and run - an event allegedly

orchestrated by Emons for the sole purpose of getting a protective order).

22.    Clearly the officers of the police agencies are easily intimidated, like Office Keily

- as he refused to do Emon's bidding and he called Emons on her predatory behavior.

Officer Keily is the only Officer seemingly in the state of Connecticut who did not do

Emons bidding on demand. The defendants certainly did, and they need to pay the

price especially since they were the law enforcement agency that determined that the

ring and run was bogus. Stating: on 9-19-2013:

      "Based on the lack of further details or other pertinent information it is
      recommended that active investigation of this incident be suspended at this time
      and that this investigation be considered Administratively Closed."


They knew exactly what was going on and they allowed themselves to be manipulated

and part of it. John Whalen allegedly purposefully altered his report #2013-0213 for
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Emons. Her powers of persuasion, or that of her husband and other powerful players -

her friends, must be very strong. This litigant is giving Judge Janet Hall a way out.

Please send this case to New Jersey. No one will live in the same region as Emons

and know her socially. Incidentally, this litigant adds, whether the defense went along

due to money, manipulation, or ideology, it goes toward the conspiracy allegation.

23.     Here is another example of Emons behind the scenes: the Mastrangelo case

where he talks about Emons' alleged manipulation of Judge Keneflix - a behind the

scenes manipulation . .

           HONORABLE JANE B. EMONS: Okay. That is not my
           recollection. When I entered into that pretrial, I
           entered into that pretrial with an understanding that
           both sides would engage in a discussion about formulating
           some type of agreement whereby we would try to put a
           mechanism in place to reunify Mr. Mastrangelo with his
           children. There is no question about that. My statement
           to Mr. Mastrangelo about not getting what you want -- I
           don't believe I used those words but I'm sure that I did
           tell him that it was not likely that a judge, after
           hearing evidence, would order three 17-year-old children
           to attend this camp. I thought that that request was
           unreasonable. At that point, my memory is that shortly
           after that discussion we realized that we were not able
           to come to a meeting of the minds for the purposes of
           furthering this pretrial discussion. Mr. Mastrangelo
           proceeded to Judge Kenefict's room and 34 days later
           evidence ended and Judge Kenefict wrote his decision.
           SENATOR GOMES (23RD): Entering that camp, was that what
           he was referring to in here when he said 4-day intensive
           program?
           HONORABLE JANE B. EMONS: Yes.

And then later ....

           SENATOR GOMES (23RD): ... I see the statements that you
           have made about he should have been able to see his
           children and that just goes alone with restoring his
           parental rights because from the beginning it says here
           he had no involvement with his children for 7 years
           despite having joint legal physical custody since they
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           were 6 years old, so something went on between him and
           his wife if he had joint custody since they were 6 years
           old, going back 10 years, and now he has nothing. All of
           this doesn't make much sense.



24.    Of course, Senator Gomes, it doesn't make sense. If something doesn't make

sense it usually means there is another agenda going on. This litigant truly believes in

the case of Emons, she is a sadist who gets off on keeping loved ones apart, screaming

at people, filing rulings where no motion has been entered, banging down the gavel like

a psychopath, feigning judicial indignation in order to avoid the motion in front of her,

precluding pro-se litigants from filing motions, telling people to shut up, engaging in

endless litigation so she can scream, and violate stated rights. Manipulating behind the

.scenes, smear campaigns, special favors, etc.

25.    People know when they are being treated unfairly and Rep. Minnie Gonzales

made it clear that out of all 21 judges there for reconfirmation the huge amount of

complaints letters was about Emons. She also made it clear she had not read any letter

that mentioned Emons race or culture as Emons had played the race card claiming her

detractors were anti-Semitic or crazy. It is important to note that at the end of the

testimony against Emons, Rep Minnie Gonzales pipes in about the fact that Emons was

wrong about "pre-trial" in the Mastrangelo case (it was actually during trial) and also that

Emons was also wrong about the $50,000- allegation by attorney Mark Sergeant. This

litigant believes Emons may have committed perjury, but that is another story for

another day. She certainly lied about this litigant.

26.    This litigant is desperate to get on with her life - and justice is the only cure. This

judge is the highest rank federal judge in the state and essentially Stefan Underhill is
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below her despite the fact that no one has the power to fire him - an act that

desperately needs to happen. Emons and Underhill have terrorized this litigant for six

long years. This litigant believes both are predators and this litigant has 15 complaints

of judicial misconduct again Underhill. This judge is well aware of Underhill; her

subordinate, they would have to be in such a small federal system. This case must be

transferred out of state. Too much has happened here. This litigant needs justice.

27.     Please transfer this matter to New Jersey. If not, please address the following

questions in your order:

1.      Can you please detail your relationship with Judge Jane Emons?

2.      Do you dine with Emons, or have you?

3.      Do you socialize with Emons or her husband at any organization - religious, town

or otherwise,

4.      Have you worked, socialized or in any way been associated with Emons or her

husband?

5.      Do you believe you can be non-biased?

6.      Have you been exposed to gossip or a file on this plaintiff?

7.      Have you read the complaints against Underhill?

Thank you.

Sincerely,

L. Lee Whitnum
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                                   CERTIFICATION



I hereby certify that on November 28, 2018 a copy of the foregoing was sent via US mail

to the following:

KARSTEN & TALLBERG, LLC - Attorneys At Law
500 Enterprise Drive, Suite 4B
Rocky Hill, CT 06067
860-233-5600

Philip Miller
Office of the Attorney General
Attn. Philip Miller
55 Elm St.
Hartford, CT


Sincerely,

s/L.Lee Whitnum
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                                              CURRENT
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                               UNITED STATES DISTRICT COURT
                                 DISTRICT OF CONNECTICUT

L. LEE WHITNUM BAKER,                                          : 3:17-cv-01362
      Plaintiff,
v.

THE TOWN OF WOODBRIDGE, et al                                  : December 26, 2018
     Defendants.

             MOTION FOR RECONSIDERATION (136) of MOTIONS (106 & 107)

1. THIS JUDGE STATES: "Further, the Motions are essentially duplicative of Motions previously

made, see Motions (Doc. Nos. 75 & 77) which were both denied, see Order (Doc. No. 79)." This is

outrageous and this judge is overlooking the fact that Judge Kari Dooley has proven herself to be

biased and has been disqualified. Any ruling she made prior is to be discounted as she is caught in

her bias. The record of the motion details Judge Dooley's bias and her recusal on Nov. 1, 2018 fact.

11/01/2018      114    MOTION to Transfer/Disqualify/Recuse Judge by L. "Lee" Whitnum.
                       (Attachments: # 1 Exhibit State Police report where Judge Dooley was a
                       recipient of an email)(Whitnum, L.) (Entered: 11/01/2018)
2. This judge continues with her outrageous assessment stating:

    "There is nothing in the Motions or the Replies to the Opposition to these Motions (Doc. No.
    118) that would support granting the Motions or reversing the prior rulings of this court."

Outrageous! This litigant proved a relationship between Judge Dooley and Jane Emons. Jane Emons

had an active role in the 2015 arrest. She lied to Marshal Kirchner who then repeated the lie. She is

directly responsible and this judge's refusal to cite her in is prejudice. Citing Dooley is also bias.

3. Judge Dooley was caught and her prejudicial prior rulings are therefore not grounds for this

judge to even claim that the issue has already been adjudicated. By whom a judge with proven bias?

4. In addition, Judge Shea in recent discovery seems to be biased in his failure to alert this litigant

he had received word of a discovery report from the Sprint Corporation. Please see the Motion for

Order filed on December 27, 2018 on this issue and the motion for transfer of the same date.




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5. The new information of prejudicial Judge Dooley's step down is relevant. This judge cannot
rely on the past and must now please make mention of the facts that have previously been ignored.
The fact that Judicial Marshal Kirchner made a report to Officer Crowther and was admittedly
Emons' mouthpiece. Address the merits directly and please don't tell me again that "Judge Dooley
already ruled on that. That was then, her prejudiced exposed, and this is now. Lying is unacceptable.
Judge Dooley should have made her relationship with Emons clear from the get-go. Please be fair.
6. Marshal Kirchner's report was newly presented as part of the 68 pages that were turned over by
the defense on the last day of discovery, September 30, 2018. In August 2015 Jane Emons allegedly
lied to a judicial marshal to get him to prove the Woodbridge Police to make the arrest. This is fact
and this judge must take it into consideration, please address the merit of that fact/argument clearly.
7. This litigant cites this case law for reconsideration as the following: This judge needs to address
this issue on the merits and not on the ruling of Judge Dooley as there exists a "need to correct a
clear error or prevent manifest injustice," Virgin Atlantic Airways v. National Mediation Bd. This
Woodbridge Police in their negligence were either lied to, or knew full-well - either way it goes to
one of the causes of action. The denial of discovery by this judge makes it more difficult, but
without a doubt the Woodbridge Police should never have arrested this litigant.
8. Background: This litigant has made it abundantly clear in prior motions:

       a.     There should never have been a protective order issued for the June 22, 2013 ring-and-
       run as this litigant's phone records proved she was in New York City that night. This litigant
       has always maintained that Jane Emons and John Whalen allegedly orchestrated the ring and
       run.
       b. Secondly, the first protective order and the modified both (Exhibit A and Exhibit B)
       contained no end date and they therefore were therefore expired in one year - at the time of
       the August 2015 arrest there were no active protective orders as Judge Arnold's protective
       order expired on October 25, 2014. Please see Exhibit C which is the statute to which this
       litigant relied (the paragraph entitled: "Length of the Restraining Order" which is located on
       the last page of the pamphlet). There was no active protective order at the time of the arrest.
       c. Thirdly: this litigant is required by statute to send all court related documents to all
       defendants. How can sending two court documents on the same day to a named defendant be
       a violation - not one but two violations? That is insane. And,
       d. Fourthly, the Woodbridge Police had already conducted an investigation of the June 22,



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        2013 ring and run and determined that there was no criminal wrong doing by this litigant.
        Please see Exhibit D the last line claims:
                "Based on the lack of further details or other pertinent information it is
                recommended that active investigation of this incident be suspended at this time and
                that this investigation be considered Administratively Closed."

9. Despite the above, the Statewide Prosecution Bureau in the form of John Whalen stepped in to

prosecute a case that had already been closed by another police agency! To make their case John

Whalen allegedly altered this litigant's phone record on his report #2013-0213 as this litigant's true

phone records, obtained via federal subpoena differed than Whalen's report. This litigant has come

to believed that John Whalen's role is as Emons' henchman as he was quite openly there to

prosecute at the behest of Jane Emons - his "buddy of 35 years" this even after another police

agency had deemed the case "administratively closed."

10. Kirchner's role in the Arrest Report (Exhibit E) is the gravamen of this case and Officer

Crowther admits Kirchner's words and stated motivation for Emons. Crowther did not investigate

this litigant's statements that there was no protective order. He made no mention of it. He did not

even view the correct protective order. He arrested on the words of Judicial Marshal Kirchner and

Judicial Marshal Kirchner had been enlisted and obviously lied to by Jane Emons. For this direct

relationship, Emons needs to be cited in for her role and action in the August 2015 arrest as her role,

and the facts are above dispute - it is fact.

11. Before examining the specifics of Exhibit E, this litigant wishes to point out that former judge

Jane Emons has a history of making behind the scenes demands to law enforcement, and to judges;

she gets others to do her bidding like Whalen and Kirchner. She apparently loves shaking that

judicial title. She is uber wealthy and apparently very used to getting her way. She has no problem

calling upon her judge friends to violate statutes for her and yet if the tables were turned would she

lift a finger for these judges? Doubtful. She caused all of this, and she could end this tomorrow, but

she won't. Although she appears as a mild mannered, innocuous, little old lady, she is anything but,

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to those people before her in the courtroom - her alleged cruelty and manipulation has been her

undoing as she was not reconfirmed amid so many complaints. The People know when they are

being treated unfairly. Federal judges suffer no financial downside to throwing a case - but there are

other downsides, complaints to the Second Circuit. This litigant states: Emons is not worth

protecting. Her lack of reconfirmation was well deserved especially for keeping loved ones apart.

12.     These Judges mistakenly believe they are defending one of their own. Judge Kari Dooley, a

young woman - a new federal judge, via a public Complaint of Judicial Misconduct could be

tainted forever as people will believe this litigant because the facts speak for themselves. Why? For

Jane Emons -who this litigant believes is a piece of garbage who unlawfully kept children from

their own parents Emons is not worth protecting - look at how much police, administrative and

court time for her amusement and personal vendettas. Emons is a predator and her lack of

reconfirmation amid the mountain of complaints - the most in Connecticut history, are proof. She

allegedly orchestrated the ring and run and if Kirchner had stated so accurately (the June 22, 2013

ring and run), the reason for the protective order is in the transcript of arraignment dated 9-7-13

(Exhibit F), the Woodbridge police would have suspected the truth as they were the investigating

agency for the bogus ring-and-run. Perhaps the Officers were browbeat into it by Emons' powerful

friends. Put the blame where blame is due, regardless of title or bank account. Emons must be cited

in for her role. To not do so, smacks of bias

13. That being said, it is without dispute that in August of 2015 Emons demanded this litigant's

arrest through Marshal Kirchner and the narrative provided by Officer Crowther:

        1. That on Friday, July 31, 2015, this Affiant received a call from Mr. Robert Kirchner who
        is in charge of Superior Court Operations for the State of Connecticut. Mr. Kirchner told this
        of and that he was notified by the victim, Judge Jane Emons, that on Thursday, July 30,
        2015, the victim received in her mailbox at her residence in Woodbridge, a document
        addressed to her with the return address of Whitnum, P.O. Box 7482, Greenwich, CT 06836.
        2. That Mr. Kirchner told this Affiant that there is a "54-lK Order of Protection", which lists
        the victim as the Protected Person, and Lisa Whitnum-Baker, d.o.b. June 23, 1960, as the
        Respondent. Mr. Kirchner said that the victim has been harassed at her home in

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         Woodbridge, Connecticut by Whitnum-Baker in the past, and has been arrested by the State
         Police for an incident that warranted this Order of Protection. This type of order
         (This is page 1 of a 4 page Affidavit)

14.      In Exhibit E, Mr. Kirchner lied when he told Officer Crowther that there is a "54-lK Order
of Protection," we know this from the direct quote above and Exhibit A, a second page the
protective order, the modified on, was a JD-CL-99. The defense in their discovery failed to provide
a copy of the correct protective order given to the police. If it was Holden's protective order it was
obsolete as it was modified in October 25, 2013 by Judge Arnold and that was the most recent
protective order in place. The most recent protective order is a JD-CL-99.
15. Whichever protective order was handed to the Woodbridge Police by Kirchner - it came from
Jane Emons. Without being able to see it we have no way to know as Judge Hall has prematurely,
and quite absurdedly, in light of the proof of Judge Kari Dooley's bias, closed discovery. A travesty.
16.    Either way if it is Holden's protective order dated 7-9-2103 or Arnold dated Oct.25-2013 both
protective orders had expired as they were both good for only one year based on statute. Please see
(Exhibit C) the paragraph about "Length of the Restraining Order .."
17.    In the order Mr. Kirchner said:
        " ...that the victim has been harassed at her home in Woodbridge, Connecticut by Whitnum-
        Baker in the past, and has been arrested by the State Police for an incident that warranted
        this Order of Protection. This type of order..

Well the only arrest by the State Police was for the May 15, 2013 telephone call. That was not the

reason for the protective order. The arraignment the Statewide Prosecutor's Office is clear the

protective order is for the ring-and-run (Exhibit F). If Kirchner had told the truth, to the

Woodbridge Police, Officer Crowther in August 2015 would said, "The June 22, 2013 ring and run?

We investigated that and there was no criminal wrongdoing by Whitnum. Maybe Whitnum is telling

the truth, maybe there is no active protective order." To repeat: In August 2015, Emons lied to

Kirchner and Kirchner then lied to the Woodbridge Police which led to the arrest. The Woodbridge

Police admittedly relied on Kirchner to make their arrest report, please see report (Exhibit E). If

Jane Emons were rightfully cited in, this case might settle. If not we are looking at years of public

appeals. Discovery must continue and face-to-face deposition of Emons, Whalen and Kirchner

allowed. If not please provide a merit argument.   Sincerely, L. Lee Whitnum.

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                                            Exhibit A




                                                                      6
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     C.GJ;. §§ 29-28, 29-32, 29·33, 2MBI, 29-30k, 46b-3&(d)(e),
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                                                                                                                                            STATE OF CONNECTICUT
                                                                                                                                              SUPERIOR COURT
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     SSu,'2.13, 5'1•1k 18 U.S.C. §§ 1122(g)(Q), 2285
                                                                                                / ,_,,.
   [J Protective Order D Family Violence D Criminal Case                                    .          .j Superior Court GA 2. Bridgeport
   [J Standing Criminal Protective Order [2J Other 54•1 K
   D Restraining order After Hearing                                0   Ex Parte Restraining Order Case Number F02B CR13-0139857•T


                D This order Is sealed from the public                  D All information about the protected person Is confidentiat
                                D   The protected person's address Information is not dlsctosable
   Protected Person
 ;"i'..i11name                                :    tname                            JOdle       DaJeofbltfl                 S111
 'tF..mons                                    ;Jane                                             12 / 11 /1950               F
  1'foi,1&                                                                                      City                                                        Zip
   Wherever She May Reside
 -;Aijw,ng adc:Jttlsa        LJ Saine n   lbove                                                                                                            ; Zip


                                                                                                                                                           '. Zlp


  Respondent (Defendant)                                                                        Respondent Identifiers
j'IA name                                    ;     name                                         Dal8 ol tirlll                      RICI!
~ Mlitnum-Baker                              i Lisa                                              6 / 23 /1960             F         White
.:../;O'll'!d$

  • Crl Summer street, Apl -404
(, y
  Stamford                                                      CT        , 06901
 'i::~1t1iooli1Waapons ( I f ~ / $ avaltlble}:                                                  Relallonslup ID prolllalld pel80f1 lPlllMllt or lomlflrl
       O AUegedly possesses one or more firearms .
                                                                                                  ~
                                                                                                       Spouse or. party to a Clvll union
       [) Allegedly holds a permit to cany a pistol or revolver.                                       Protscted person's parent
       O Allegedly possesses ammunition.                                                               Intimate cohabitant
       D Other: _ _ _ _ _ _ _ _ _ _ _ _ _ _ __                                                         Parent of common chHd
                                                                                                       other: f\Cln-CN
 Terms and Conditions of Protection
 Y<>J, the Respondent, must follow all the orders and conditions checked or indicated by "X" below:
ffil Surrender or transfer all firearms and ammunition.
 ~ Do not assault, threaten, abuse, harass, follow, Interfere with, or stalk the protected person. (CT01)
[21 &'tay £ltNS.Y from the home of the protected person and wherever the protected person shall reside. (CT03) .
[81 Do not contact the protected person in any manner, including by written, electronic or telephone contact, and do not
      contact the protected person's home, workplace or others with whom the contact would be likely kl cause annoyance or
      alarm to the protected person. (CTOS)
0     Other.---------------------------------
Addlttonat terms and conditions are on the following pages:                         0 General Protection Order Notifications, JD-CL-098
                                                                                    @Additional Orders of Protection, JO-CL-100
                                                                                    0   General Restralning Order Notifications (Family), JD-CL-1~

                        This order remains In effect untll:              D Further order of the court.                t
                                                                                                                      ;
                                                                                                                          Expnllon lftte (11 apploable}
                                                                                                                                I    I                                   I
18] The court had jurisdiction over the parties and the subject matter, and the resfJOfldent was provided with reasonable notice
     and opportunity to be heard. Trus order shaR be enforced even without registration, ~ the courts of any state, the District
     of Columbia, any U.S. Territory, and may be enforced by Tribal Lands (18 U.S.C. SecllOll 2265). Crossing state territorial
     or tribal boundaries to violate ftils order may result in federal imprisonment (18 U.S.C. Section 2262);          '         '
00   State law provides penalties for possession of fireanns, ammunition, or electronic defense weapon (Conn. Gen. stat.
     §§ ~-217{a)(4} and 63a-217c(a}(5)). ~ederal law also ~es penalties for possessing. transporting. Shipping, or
     recervin'Q any fireann or ammunftton while subject to a qua          protection order and under the circumstances specffled
     In 18 U.S.C. § 922(9)(8).                                                                               .




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By the Court
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  ADDITIONAL ORDERS                                                                                                                  STATE OF cc<-4NECTICUi
  OF PROTECTION                                                                                                                       SUREftlOR COURT
  JO.CL-100 Rev. 10-13                                                                                                                      www.jud.ct.gov
  C.G.S. S§ :Z9-2B, ,29-32, 28--33, 29-SBI, 29-38!1, 48b-3~d)(e)r
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  saa-223, D4-1k,  ,e·u.s.c.  1111122(g}(8), 22es                                                        Superior Court GA 2 - Bridgeport
  D        Protective Order       O      Family Violence            0     Criminal Case
 B         Stand'mg Criminal Protectl\le Order
           Restral'llng Order After Hearing
                                                                    (El   Other
                                                                    D Ex Parte Restraining Order
                                                                                                         Case number F02B CR13-o139857-T


        D This order Is sealed from the public                       D All information about the protected person is confidential
                           O The protected person's address Information is not dlsclosable

I Protected Person .
  Lastnama
  Emons
                                            I Flfltlllffll
                                            ;Jane
                                                                                  i Mllldle
                                                                                  I
                                                                                              I
  Respondent(De~ndanQ                                                                         Respondent Identifiers
 LUlname
 Whitnum-Saker.
                                            i Fil'llname
                                           , lJsa
                                                                                  I Mlddla
                                                                                  i               s,
                                                                                                   of birth
                                                                                                       23 11960
                                                                                                                  i Sex
                                                                                                                  l   F
                                                                                                                          Race
                                                                                                                          white

 You, the Respondent, must follow all the orders and conditions checked or Indicated by °X" below:

 B   You may return to the protected personts home one time wrth polce to retrieve belongings.
     If the protected person has moved out of the home of the respondent, the respondent shall permit the protected
     person to return to the respondenfs home on one oceasJon, with police, to retrieve the protected person's
                                                                                                                                                      {CT14)
                                                                                                                                                      (CT15)
     belongings.
 181 Stay 100 yards away from the protected person.                                                                                                    (CT16)
 B   This order also protects the protected person's mlnorehlldren.
     This order protects animals owned or kept by the protected person.
                                                                                                                                                      .(CT19)
                                                                                                                                                      (CT31)
 (Bl   other: The defendant shall be able to enter & exit the Stamford JD Courthouse at 123 HaytStreet, Stamford,
                 CT during normal business hours of operation to conduct reasonable & legltlmata court business
                 related to her pending civil court matters. This Includes access to the cJ81tt's office, the law library &
                 those courtroom$ where her pending matters have been assfgnad on various dates & Umes for the
                 purposes of trials, motion hearings &/or pretrlal confanmces. At no time shall the det.ndant lnltia1e
                 or seek to initblte any contact with the victim while upon or tn th• court premises. The defendant
                 shaH refrain ffom entering the third fl00J'. of the court factllty unlus authorized or summoned to do
                 so by court marshals or personnel solely for the purposes of lltgating matters In her pending cases.
Temporary Child Custody and Visitation (IS8Ued under Section 46/J-15)
O The court has jurisdiction to Issue a temporary custody order regaromg the chUdren Rsted berow under the                                           (CT20)
       Connecticut Uniform Child Custody Jurlsdlotlon and Enforcement Ad., Connecticut General statutes § 46b-115
       et seq., and the court awards temporary custody of the following child(ren) to the protected person:
                        Name                          $el(    Date of Birth                            Name                 Sex   Date of Birth
       1                                                                               4
    2                                                                                  5
    3                                                                                  6


O Respondent has visitation as follow:                       _____________________                                                                   {CT21)


O Respondent does not have visitation rights.                                                                                                        (CT22)
Additional terms and conditions are on the followlng pages:
            jID Order of Protection, JO-CL-099
            D General Protedlon Order Notifications, JD-CL-098
            O General Restraining Order Notfflcatlons (Family), JD-CL-104
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                                             Exhibit B
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         ORDER OF PROTECTION                                                                                                                     STATE OF CONNECTICl/T
         JO-ct.-099 Rll'I. 10l10                                                                                                                 SUPERIOR COURT
         C.G.S. Si 211-28, 2Q.32, 29-n, 211-38~ 28-38!, «511-aac(_dl(e),                                                                                  11111/W.µJ. ct.gov
         <lllb-38nn, 5!a-28{!J, 53a-311, 6aa-42, SS.21,, hll-2111),
         SSa-228, 154-1k, 19 U,S.C. ff 922(;){9), fflS; PA 10-1"4
                                                                                                                        Superior Court G.A. 23 New Haven
     §       Protectlve Order            D
                                   Family Violence
             Standing Crimlnat Protective Order
             Restreinlng Order After Hearing
                                                                               ~ Criminal Case
                                                                                 Other -H:
                                                                                         ...1.....K'"----- case Number N23NCR130139857S
                                                                                  Ex Parte Restraining Order

             0    This order ls sealed from the public                          O
                                                             All information about the protected person is confidential
                                  D
                                 The protected person's address information Is not disclosable
         Protected Person
         Last name                                ,First name                              ,Liddle      Dale al blr1b           Sex      ~

      Emons                                       ;Jane                                                   12/ 11 / 1950         F        White
      HameaddrN•                                                                                        . Cllv                                    . Slate          ,Zip
      Where •ver she may reside                                                                         '
                                                                                                        Cltv                                          Stalll       -~
      WorkaddRIQ                                                                                        Clly                                          stale         Z1p
                                                                                                                                                  '

      Respondent{D6fendan~                                                                              Respondent Identifiers
     11.ulnamt                                    ,flntname                                ,Mkldle      [Dalactblrlh           s.x       RICle
      Whitnum-Baker                              :ua                                                     a/ 23 /        1980    F        Whlte
      Addrau
      101 summerStraat.Apt.404
                                                                                                        ~         lw.v,it      Eyes      Hair
                                                                                                                                                               1;;;804-0778
      City                                                         state          :Zip                  a.tlngulahklg~ldenherl
      Sumford                                                     ;er             !98901

           §
      CilllllonSIWeapons (If fnlonnation 15 &Wlllable):                                                 R.91allanllip topratacl.8d 119,-00 ,,.,._,, ot/orme,:J




                                                                                                         ~
                 Alleged)y pooo.._ ono or mono fireem,a                                                          Spouse or party to a civil union
                 AUegedty hotds a permit to carry a pistol or revolver.                                          Protected person's parent
                 Other:                                                                                          Intimate cohabitant
                                                                                                                 Parent of common chlld
                                                                                                                 Other: No!}-OV
     Terms and Conditions of Protection


)
    IYou, the Reaponde~ must follow all the ordera and conditions checked or Indicated by "X" below:
           Surrender or transfer all firearms.
           Oo not assautt, threaten, abuse, harass, follow, interfere with, or stalk the protected person. (CT01)
           Stay aNSY from the home of the protected person and wherever the protected person shall reside. (CT03)
           Do not contact the protected person in any manner, irlcludlng by written, electronic or telephone contact, and do oot
           contact the protected pe1110ll's home, workplace or others with whom the contact would be Hkely to cause annoyance or
           alarm to the protected person. (CT05)
    f8I    Other: St!)' 100 Y8f!is away from the protected person


    Additional tenns and conditions are on the following pages:                                 §    General Protection Order Notifications, JO-CL--098
                                                                                                     Additional Orders of Protection, JD-CL-100
                                                                                                     Genni Restraining order Notffications (Family), JD-CL-104
              I    This order remains In effect until:                     ;     D Further order of the court.                 .~         j' (If~ J               I
    181 The court had Jurisdiction over the parties and the subject matter, and the respondent was provided with reasonable
          notice and opportunity to be heard. This order shaJl be enforced, even without registration, by the oourts of any state the
          District of Columbfa, any U.S. Territory, and may be enforced by Trlbaf Lands (18 U.S.C. Section 2265). Crossing state,
          territorial, or tribal boundaries to violate ttris order may result In federal imprisonment (18 U.S.C. Section 2262).
    00    State laW pravides penalties for possession of a fireann or electronic defense weapon (Conn. Gen. Stat §§
          53&-217(a){3) and 53a-217c(5)). Federal law also provides penalties for possessing, transporting, shipping, or reoelving
          any firearm or ammunltlon ·1e subject to a quafffylng protection order and unde the circumstances specified in 18
          u.s.c. § 922(QX8).
     By the Court
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                                             Exhibit C
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   Domestic Violence Programs
    Shelter • Information • Referrals                     Restraining Orders:
    Domestic Violence programs are locared
   throughout the State of Connecticut. The                How to Apply for
      programs provide a 24-hour hotline,
      information, referrals, and shelter to               Relief from Abuse
          victims of domestic violence.

          Statewide Domestic
            Violence Hotline
             1-888-774-2900

ADA Notice
The Judicial Branch of the State of Connecticut
complies with the Americans with Disabilities Act
(ADA). If you need a reasonable accommodation
in accordance wirh the ADA, contact a court
clerk or an ADA contact person listed at
wwwjud. ct.gov/ADA/.

Disclaimer. This publication has been put together
by the Judicial Branch as a public service and
under the provisions of section 46b- l 5b of the
Connecticut General Statutes. Ir is based on the
Connecticut General Statutes in effect at the time
of publication. This information is not intended
as a substitute for getting legal advice from a
Connecticut attorney. You are responsible for any
actions you rake on your own behalf. The clerk's
office may assist you wirh procedural questions;
however, the staff cannot act a.s your attorney or give
legal advice and are not responsible for any errors
or omissions in these procedures. If you need more
information or assistance, you should either contact
an attorney or read the appropriate sections of the
Connecticut General Statutes and the Connecticut                www.jud.ct.gov
Practice Book


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JDP-FM-142 (Rev. 1-15)
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The Forms You Need to Apply for a                      Fees
Restraining Order                                      You do not have to pay court fees to file the
Fill out an Application for Relief From Abuse          Application or for any motion to change or extend
form QD-FM-137), and an Affidavit - Relief             the order. The fee for delivery of the Application
From Abuse form (JD-FM-138).                           (known as service) and any orders issued wirhout
                                                       a hearing (ex parte) will be paid for by the
If you want temporary custody of your children,        Judicial Branch.
fill out an Affidavit Concerning Children form
QD-FM-164). If the respondent is your spouse           After the Judge Rules on
or someone you have a civil union with, or you         the Application
live with the Respondent and have a dependent          If the Judge grants your request for a restraining
child who also lives with you, and you would           order, the clerk's office will process the papers and
like to ask the coun to make additional orders of      give you cwo (2) copies of the:
maintenance, check the box on·the Application          • Order of Protection form UD-CL-99) and,
for Relief From Abuse form 0D-FM-137) that               if appropriate
says that, and fill out the Supplemental Affidavit     • Additional Orders of Protection form
and Request fur Orders of Maintenance fonn               UD-CL-100) and Orders of Maintenance form
QD-FM-233). You also need to fill out a                  QD-FM-234)
Restraining Order Service Respondent Profile
form (SMC-2), so that the State Marshal can find       The clerk will also return to you the original:
and deliver the papers to the Respondent.              • Application for Relief From Abuse form
                                                         0D-FM-137)
Note: The person who fills out the Application for     • Affidavit - Relief From Abuse form
Relief From Abuse form (JD-FM-137) is called             (JD-FM-138)
the "Applicant" in the restraining order process.      • Affidavit Concerning Children form
                                                         (JD-FM-164)
The person the Application for Relief From Abuse
form is filed against is called the "Respondent."      The clerk will also give you the:
                                                       • Order and Notice of Court Hearing form
Application Procedures                                   UD-FM-140)
You must give the filled-out forms to the court        • General Restraining Order Notifications form
clerk. The Appllcation and Affidavits must be            UD-CL-104)
signed in front of a clerk, notary public or lawyer.   • Restraining Order Service Respondent Profile
                                                         form (SMC-2) if you have not already
The Application and Affidavits will be reviewed by
                                                         received one
a Judge. When the Judge reviews the application
you may be asked by the Judge to testify in courr      You should keep one of the copies of the Order of
about why you are asking for the restraining order.    Protection form (JD-CL-99} and Additional Orders
                                                       of Protection form (JD-CL-100), ifordered, with
                                                       you ac all times and the other copy of the orders in a
                                                       safe place.
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A.ny ex pane orders granted by the Judge will last       Firearm Restrictions
no more than fourteen (14) days;    they can be .        Firearm restrictions apply to Respondents who
extended later at the hearing.                           are subject to orders of protection. A notice of
                                                         che firearm restrictions is printed on the General
The clerk will send a copy of the order or
                                                         Restraining Order Notification form CTD-CL-104).
information in rhe order to law enforcement
within forty-eight (48) hours.                           Testimony       by Other Means
Delivery to the Respondent (Service                      Before the hearing, you may file a motion asking
of Process)                                              that your testimony be raken in a different place,
                                                         away from rhe Respondent. 'Tue Judge may order
To make sure that the Respondent knows about
                                                         the use of videoconferencing or another way fm
the restraining order, if the court ordered one, and
                                                         you to give testimony. If you want to request this,
about the hearing date, bring all of the forms rhe
                                                         you should file a morion with the court as soon as
clerk gave you to a State Marshal or any proper
                                                         possible before the hearing.
officer fur delivery to rhe Respondent. (The clerk
or someone at a Court Service Center can explain         The Court Hearing
to you who a "proper officer" is). You may get a
                                                         You must go to the hearing if you wam the court
current lis( of State Marshals from the clerk's office
                                                         to give you a restraining order, if it hasn't given you
or the Judicial Branch web site at ,vww.jud.ct.gov.
                                                         one already, or to extend the restraining order if it
At some courthouses, a State Marshal is at the
                                                         already gave you one. During the hearing you will be
courthouse at certain times during the day to hdp
                                                         able to reH the Judge why you want rhe restraining
with service.
                                                         order or why you wanr to extend one.
The Restraining Order Service Respondent Profile
                                                         If you think you need more security when you are ln
form (SMC-2) is needed so that the State Marshal
                                                         court for the hearing, contact the clerk's office or the
can find and deliver the papers to the Respondent.
                                                         Court Service Center where the hearing will be.
It is very important to give the State Marshal as
much information as you can about how to find            On rhe dav of rhe hearing and before going in
the Respo,udent.                                         from of th~ Judge. you and the Respondent must
                                                         meet separarelr with a Family Rdadons Counselor
The forms must be delivered to the Respondent at
                                                         (FRC) from rhe Courr Support SerYices Division.
least five {5) days before the hearing date. If you
                                                         There "'iU be a sign-up sheet in the area of rhe
do not know where the Respondent lives or cannot
                                                         courthouse where rhe FRC has the meerings. A
give enough information about how to find the
                                                         Judicial :\lmhal GID       you where that is. The FRC
Respondent, the State Marshal may not be able to
                                                         will ask for infurrn.ation about any existing court
find the Respondent to deliver the papers and your
                                                         orders, possession of firearms or permits, history of
protection might be limited.
                                                         the relationship, and information on child-related
After the Seate Marshal delivers the forms, the          matters. Tue FRC mav make recommendations and
original forms must be returned to the clerk's office    mav refer you co or.he; agencies for other services. At
so that the clerk can schedule the court hearing. It     the. end of the meeting you and the Respondent will
i.s recommended chat the forms be returned to the        go to the counroom to wait for your hearing.
clerk's office at least two (2) working days before
the scheduled hearing date.
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Witnesses or evidence that will support your claims      Service Center or Clerk's Office co help if you do
should be brought co rhe hearing.                        not understand what the orders say or how long
                                                         they will remain in effect.
If the court is dosed on the scheduled hearing dai::e,
the hearing will be hdd on the next day the court is     About five (5) weeks before the end of the
open and any ex parte order will stay in effect until    restraining order, the Office ofVktim Services will
the hearing is held.                                     mail you a letter to the address listed in the order,
                                                         or your new address if you gave it to the court,
After the Hearing                                        telling you when the restraining order will end.
If the restraining order is granted by the Judge, you
will get two (2) copies of a new Order of Protection     Violating the Restraining Order
form (JD-CL-99) and, if ordered, a new Additional        If the Respondent did not follow any part of the
Orders of Protection form (JD-CL-100) and Orders         order you should contact the police immediately
of Maintenance form (JD-FM-234). A copy of the           and file a complaint.
order(s) will be given or mailed to the Respondent
by the clerk.
                                                         Extending the Restraining Order
                                                         If you want the restraining order to continue after
The clerk will send a copy of the order(s) or the        the period ordered by the court, you must file a
information in.the order(s) to law enforcement           Motion to Extend with the clerk's office. To keep
within forty-eight (48) hours,                           the order from running out, you should file the
                                                         motion at least two (2) to three (3) weeks before
You should keep one of the copies of the Order of        the restraining order ends.
Protecricin form (JD-CL-99) and, if ordered, a new
Additional Orders of Protection form (JD-CL-100)         After the motion is filed, the clerk will schedule a
and Orders of Maintenance form (JD-FM-234)               hearing, and return the motion to you for delivery
with you at all times and the other copy of the          to the Respondent Delivery may be made by
orders in a safe place.                                  first-class mail to Respondent's last known address,
                                                         You cannot extend or modify the Orders of
Change of Address                                        Maintenance.
If you move after the court issues the restraining
order, contact the clerk's office to find out how to     On the bearing date, the same court procedures
update your information.                                 apply as described in "The Court Hearing" section
                                                         of this brochure.
Length of the Restraining Order
The new Order of Protection, and Additional Orders
of Protection if ordered, are good for one (1) year,        For more information contact:
unless the Judge orders a different length of time. If
                                                                   Office of Victim Services
Orders of Maincenance were made, they are good
for a maximum of 120 days. It is important to make
                                                                        1-800..S22-8428
sure that you understand the order and know how                        225 Spring Street
long each part of ii: lasts. Ask someone at the Court                Wethersfield, CT 06109
                                                                 www.jud.ct.gov/crimevictim
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                                                                                                    Woodbridge Police Department
 Run Time:_ 15:00
                                                                                                          4 Meetinghouse Lane, Woodbridge CT 06525
                                                                                                                         (203) 387-2511                                                          SUPPLEMENTARY                                       ~]
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                                  DAY INCIDENT DATE            TIME~DATE OF RPT TIME OF RPT TYPE OF INCIDENT                                                            INCIDENT CD INYES1JGATING OFFICER IBADGE NO
                                   7       06122120 13    o1:3s           09117/2013   13:47                      SUSPICIOUSACTIVITY             -                         028         Officer                                                   002
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 t,,!__ --·-..          ;._                     DIVISION NO.              REFERENCE DIVISION                EFERENCE DIVISION NO,\CASE X-REFERENCE                      UNITID           TYPIST     DATE TYPED                              ME TYPE~!

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                                                 V""VICTIM AaARRESTEE J=JUVENILE H=OTHER                                                                                         S=SUSPECT P=POLICE OFFICER                                 i\.ror
    !====a=;:::=::;::,=;:==-========:::::l""'~_!:X=·*'RA:::::::;:C::::;;E:;-=I--D-1:!~:...J     TELEPHONE
                       MONS, JEFFREY                           M     W       10/20/1953             (203) 468-3213
                                                                                                  Bus .                                                                                                                  _,
                                       ... ·-·             I F I -w-1        06/23/1960 I Cel- ,- I (323) 804. 0779- 01 summer-St Stamford Apt#: 404 CT                                                                 br                                            I
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                       ew HavenS~perior Court G.A. #    2f                                7       Bus ]
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                                                                                                              (203) 789- • 7455 )121 Elm St New Haven CT
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     1=NONE 27 BURNED 3=COUNTERFEIT/FORGED ,.,DAMAGED/DEST 5'-RECOVERED 6=SEIZEO 7=STOLEN BmUNKNOWN 9=1MPOUNOED/FOUND T-=TOWED E"EVIDENCEA=ABANDONEO
     ~oD[._q.rr..J?escRIPTION                     BRAND        MODEL I!YEAR! STATE    REG I    MAKE MODEL COLOR MN/SERIAL NO.I             I         I
                                                                                                                                           _ ;,ST.VALUE        t                                                                I
          E   fi       ~elephone records obtained via Ex Parte      tj                    I                       j    I                                                                                                    ---,                                  -
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 (V)
 g.,          'This investigation continued ~s follows .
.>
 C,) .             .                                                                                                                                                                                              ··•·      .,... . •
 r-!-   On Augt,tst 2,.2013 the writer received by mail from the Sprint/Nextel Corporation a telephone information package, assigned SpJi~ftiisttJJ
 ~umber 201~-202577, in compliance.to their receipt of the Ex Pa'rte Order. Upon.completion of investigative use, this corre~Qy..i;~folice Deµi
 t1aced into Evidence using Tag # 8088.                         -                                   .                          :·.:are _                                                                                _?~_{('JJ__                                   .
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                                                                                                                                                        _ -  .
        A:r,eview of these records revealed that only two telephone calls were made from telephone number (203)-692-5027 twelve minutes'after·---..- -
  this:r~·ported incident time (0138 Hrs). The first call was placed at 0150 Hrs, 33 seconds and lasted 34 seconds. The second call-w~RJ,r,q ati.-·;.
                                                                                                                                                                                   1(413)-9~rtRr3flr.'rt:11Jt~Po~li:e
     OFFICER SIGNATI
                                                 ~-
  0151 Hrs,19 seconds and ~a:ted for a duration of32 secor-ids. Both of these calls were placed to telephone number

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                                                                                                                                          SUBSCRIBED &SWORN BEFORE ME: NOTARY .. ' "' ''•· -~-~---~;...;..::.:..-;......-,.,-,

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                                                                             "'..:J \ .                                                   THIS             DAY OF                YR.
                                                                                                                                                                                                    ····-T··,p,;          1
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                                                                                                                                                                                                                                            71
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                                                                                                                Department                                                                      Page 2 of 2
    Run Time: 15:00
                                                                                                  4 Meetinghouse lane, Woodbridge CT 06525
                                                                                                                         (203) 387-2511                                         SUPPLEMEMTARY          lX l
                                                                                                       CASE/INCIDENT REPORT
 was determined through an open squrce computer search to be a wireless mobile telephone listed to the Northampton, Massachusetts


-
~lephone exchange, which is not known to belong to or be associated with the complainant
 0
·~        Further review of these records indicated that the cell tower location information for when these calls were made was not provided in the
-~orrespondence. The writer placed several telephone calls to Sprint Security agent Rundquist, the identified contact person in correspondence·
. ~ent by the telephone carrier. On August 28, 2013 the writer was finally able to speak with Rundquist and apprise her of this omission. She
cditated that as the.Ex Parte Order lacked specific legal verbiage in its body, i.e. did not specifically include the legal phrases, "Probable Cause",
g•specific & articulable facts" or cite Federal law 18USC2703(d), it was the Sprint Corporations legal opinion that they did not need to provide
~ny additional information.
.-I             '
"O .
-~   The writer then prepared a second Ex Parte Order application, which was re-written and included all three phrases sp~cified. On·
LLSeptember 4, 2013, this was also reviewed by Supervising States Attorney Strollo, who approved it for presentation to a presiding Judge of
~New Haven Superior Court. On September 6, 2013 this application was reviewed by Judge Keegan, whose professional opinion was that the
~information _contained therein w.as 'stale' and she declined to sign this Ex Parte application. The writer apprised her of the circumstances
 Esurrounding this application and she stated that the corporate entity should comply as the Warrant body includes some of the phrases cited.
 a
 0
  she posited that _Sprint/Nextel sh?uld be re-contacted relative to their obligation to comply.
Cl
        On Septembers 11, 16, & 17 , 2013 the writer placed telephone calls to Sprint/ Nextel and finally was able to speak with Ms. Rundquist
I                       ,                  .                                                          ,...
g   regarding this matt~r. She again re-iterated that based on the Ex Parte Order on hand, that Jt remained their legal opinion that all' information
rZi they were required to provide had been.
(0
(")
.-I
9      On September 17, 2013 the writer also telephonically contacted Mr. Emons regarding the results and findings of this investigation and of
>          .                                                                               :.
Y the inability to place the use of the cellular telephones known to be used by Whitnum~Bl;lker in the vicinity of his residence at the time of the
~ incident. It was noted that there have been no other incidences of suspicious activity or surreptitious trespass at, or in, the vicinity of, his
~ residence since the date of the original incident.                                                                                 ·
~
u
            Based     on the lack of further details or other pertinent information, it is recommended that active investigation of this incident be
     · suspended attHis time and that this investigation be considered Administratively Closed.




      ,OFFICER S1~~8.e ,,..                )Vl.ffr•i                         S~ERVIS0~.~9t-!AJ"UflE~           ., / ~\                    SUBSCRIBED &SWORN BEFORE ME: NOTARY

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      ARREST.WA.tmANT APPLICATION                           STATE OF CONNECTICUT
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      To: A ~ tlf the...,_ Court
      The undensi;ned han,by epples ~a warrantfortile.,..... of the above-named accUNd on the basta of thef-=-
      eetforlb In 1he X Affidavit 8111oW. IAfflldavfU•)Attached.



      Affidavit
      n. •ll•ma I Id ............... SWOl'llt . . . . . . . . . . , .
   'That the undenllgned, 0fflcef' Robert e. Crowther, being duly sworn does depose and state that he ts a member
   of the Woodbridge Polee Department. and has been a member of 88kf department alnce May 19, 2003, and at
   al tifT'.191 men1loned herein was acting • a member of Nld department. That this officerwu a member of 1he
   NN Haven Polee DepaJtment tom Sept_ 18. 1978 until May 1, 2003, and                         was•
                                                                                     sworn olffcer and adiva
   member dumg that time. Toe following facts and circumstances n from personal knowledge and
   ObeervatloMt as \Vel • infonnatlon received from bn:lther offlcera adlng ii their oftlcial capadty, and from
   police~ and statements made by pt\ldent credible wttnesaes.

·~. That on Friday, July 31, 2015, this Afflant raceived a cal from Mr. Robert KJR:hnerwho is In charge of
  Superior Cour1 Opendlona for the State of Connecticut. Mr. Kin:hnartofd _thfa aftiant that he was nolffled by the
  vidim, Judge Jane Emons, that on Thuniday, July 30. 2015, the vlclfln received In her maDbox at her '9lidence
  In Woodbridge, a document addressed to her wBh the l9tum adtlraa of Whflnum, P.O. Bax 7482, Graenwich,
   CT08838.

  2. That Mr. Kichner told fhJs Afflant that there is a *54-1K Order rA Protec:tion", which Beta the victim as the
  Prolected ~ . and Usa 'Whlnum-8aker. d.o.b. June 23. 1980, • 1ft~ ReepcndenL Mt Kirchner said that
  the viCtim has been haraued at her home In Woodbridge, Connecticut by Whlnum-Baker In the put, and has
  been anested by the State Police for an Incident that warranted this ORier or Pmtactlon. Thia type of order


  Dllfa
          3/s/ ,s
   Finding
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   Affidavit - Continued
   specfflcally addrasaes harassment and atalkfng. The order was signed by a judge and issued July 9, 2013 out of
   New Haven Superior Court, G.A. 23, reads In part, "Do not contact the pmtectecf person in any manner,
   lnCluding by written, electn:>nlc ortelephOne contact, and do not contact the protected person's home, W0fkpfece
   or olhets with whom the contact would be likely to cause annoyance or alann to the prctected person." A ·
   second similar order was Issued out of 8ftdgeport Supe,1Dr Court on October 25, 2013; it II ~ by a judge
   and lats the earne "Terms and (:ondltJona d PR'Jtection".

   3. That on Friday, July 31, 2015, this Afflant spoke with the viclm who stated that on Thursday, July 301 2015,
   her huaband called and 101d her that when he retrieved the mal from their malbax which Is at the mouth of their
   driveway near the road, among the mal was a medium-almd mania envelope addreaaed to her. That when the
   vic:tinia husband opened the envelope, he saw that It coralned a multiple page legal document cl an
  ."Emergency Motion for lnjunction11• The document was dated July 27, 2015. and was suppoaedJYilled in Unled
  States District Courf..Olstrtct of Connecticut.

  -4. That the w:flm told 1h18 Affiant that she is aware at a pending federal lawsult that Whlnum la flng agaJnet
---., but the victim has not been served legal eervfce forthls lawsul. The vfctim told tllia affiant that If
  Nhlnum-Sakerahed to eerve her in her pensonal capacl:y, she should have a State M&Jlhal serve her at her
  rNldence or at the Court. The victim atao sad that If she were to be served In her profaaional capacity, n
  would have to be aaM1d through the Attorney Generara Offtce for the State cl Conned1cul.

  5. That on Monday, Auguat 3, 2015, thlsAfflant contacad Unled States Poetal Inspector Jason Bourdeau and
  aaked hfm to ve,fy and c:onftrm who rents POil OllfceBox 7482 fn Gnlenwlch, Connecllcut. A lhort time tater
  lnlpeclor Bourdeau adviNd thlsAffian.t that Post Office Box 7'82 ls nmtec:t by uaa Whftnum..Baker.

  8. That on Monday, August 31 2015, thie Afflant asked Olicer Jeff Monti of the GINl1Wlch Polee Department to
  gotoWhflrium-Sekel'allled addnlssd 12'-HeftfJ SfA!let.GreeAwfdl, Cortnecla.tt. to elherobta, a good
  phone number far YJhltnum-Bakar, or advise Whilnum-Baker to contact this Atlanl Offlc:er Monti went to 123
  Henry street. GlllenwJch, Conneclicut whel8 he did speak to a woman through her locked-fJOnt door. Upon
 speaking to this woman, ahe confirmed to Ofllcar Morris that she was Uea Wbltnum-Saker. 0br Morris told
 Whlnum-Baker that the was a subject d a crfnmal campiu1t lodged apfnlt her in Woodbddge, and that 1hfa
 Affiant needed to speak wlh her. Whlnwn-Baker refused to pmvide Officer Morris with a phone number, and
 told hin that abe 'WOUid contact this afflanl
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    Affidavit - Continued
    7. That on August 4, 2015, this Afflant J8C8lved a phone call from a woman who identlftad heraelf" a Uaa
    Whitnum-Baker. M1ffnum-Sakar '101d thlsAfltant that she had heard that this Afflant wanted to speak to her.
    Whftnum-Bakar went on to eaythat 8he had n,cent(y mailed Judge Emons legal documents on two ocrash,a
    and stated,, plan to do m0nt mallnga". ThisAfflant apprised Whitnum-Baker1hat an Older al PmfecHon was
    ml in force, and she couJd not have contact with Judge EmonfJ In.any manner. Whftnum..Baker became
    a,gumentaf!wt and demanded fo know the named Judge Emons'a attorney because 'We are going to friar'.
    Thia Afflant again explained to Whltnum-Bakerthatthe Order of Protealon WU stll In erect and aha was not to
    have contact cl arrJ manner with Judge Emons wh1ch included by maL Thia Aflianttald 'Nhlnum-Bakerltal
    she would have to hire a State M8flhal or go thlOU(lh the Attorney Generaf'• Office. Whifrwm-Sakertald this
    Afflant • I wlJ take care of this myself and I am hanging up on you". She then hung up the Phone and the cal
    was terminated.

  8. That on Tuesday, August 4, 2015, thllAfflant recalved a cal fnlrn 'the vtctim who ataced that on Monday,
  August 3,, 2015, aha recehled In her malbox a large mania envalope addreNed to the victim at her home
  addtNa, wlh the name "'Mlflnurn, P.O. Sax 7482. Gnlenwlch, CT 08838,• fn the upper..faft, retum addrw
-.ctlon of the envelope. Contained Inside the envelope was a "United Stales Dl8trlct Court-Dlltrict of
  Connecticut MoUon to Cite Additional Pat'flw.

  9. That a Judcial Bnmch Records Check perfonned on Liaa Whlnum-8aker. d.o.b. June 23t 1960, shows that
  she haa been am,eted in the put. and ttl8N cases are currently pending in ccwt. The pending charges are
  Criminal Trespau 1st Degi9e, Haraument 2nd Degree, and Creating a Publlc Di&tult:lance.

  10. That a check with 1he Connecticut Oepctment of Comlc:6>ns RIV98led that Lisa Whitnum-Baker, d.o.b.
  June 23, 1980, was not fncan:erated at the time rl thfs alleged crime.

  11. That based on the afotamentioned fadl and cifcl.lmstanees. this Affiant beleves thllt probable cause does
  e,dst and therWfo(9 rNpectfulJy Alquesta that this warrant be issued for the anast of Ula Whlnum-Baker. date
  d birth June 23, 1980, wilh a last known addrau of 123 Henry Sb8et, Greenwich, Connecticut, which charges
  herwlth twoc:ountarl\llolatlon da Protective Order, 53a-22S, and Hal'Ulll'lel1t2nd Degrae, 538-183.

  12. That no appUcattons have been made with any other court for the afonmentloned crimes.
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    By Autbotity of the state of CorNCtfcd. you.,. hend>y commanded to mast the body altba
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   0          B. Accused Is not entitl8d to bail.
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                                   CERTIFICATION


This litigant hereby certify that on December 26, 2018 a copy of the foregoing was sent
via US mail to the following:


KARSTEN & TALLBERG, LLC - Attorneys At Law
500 Enterprise Drive, Suite 4B
Rocky Hill, CT 06067
860-233-5600


Philip Miller
Office of the Attorney General
Attn. Philip Miller
55 Elm St.
Hartford, CT



Sincerely,


s/L.Lee This litigant
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                            UNITED STATES DISTRICT COURT
                              DISTRICT OF CONNECTICUT

L. LEE WHITNUM
      Plaintiff,                                                CIVIL CASE NO.
                                                                3:17-CV-1362 (JCH)
         V.

TOWN OF WOODBRIDGE, ET AL.,                                     MARCH 22, 2019
    Defendants.

               RULING RE: PLAINTIFF'S MOTIONS FOR RECONSIDERATION
                          (DOC. NOS. 139, 145, 147, AND 153).

I.       INTRODUCTION

         Pending before the court are the plaintiff's Motions for Reconsideration of several

of this court's prior Orders. Specifically, L. Lee Whitnum's ('Whitnum") seeks

reconsideration of the following Order: (1) Order Granting Motions to Quash Subpoenas

for Rule 31 Depositions (Doc. No. 131); (2) Order Denying Motion to Compel Full

Report (Doc. No. 134); (3) Order Granting in Part and Denying in Part Motion to Compel

and for Sanctions (Doc. No. 135); and (4) Order Denying Motion to Cite in John Whalen

and Jane Emons (Doc. No. 136).

         For the reasons stated below, the Motions for Reconsideration are granted in

part and denied in part.

II.      JURISDICTION

         Whitnum filed Notices of Appeal to the Second Circuit as to each of the Rulings

for which she also moves this court for reconsideration. See Clerk's Certificate Re:

Index and Record on Appeal (Doc. No. 173). Generally, "the filing of a notice of appeal

is an event of jurisdictional significance-it confers jurisdiction on the court of appeals

and divests the district court of its control over those aspects of the case involved in the

appeal." United States v. Rodgers, 101 F.3d 247, 251 (2d Cir. 1996). However, the

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Federal Rules of Appellate Procedure provide that, if a party files a notice of appeal

after the district court enters judgment "but before it disposes of any motion listed in

[Federal] Rule [of Appellate Procedure] 4(a)(4 )(A)[,] the notice becomes effective to

appeal a judgment or order, in whole or in part, when the order disposing of the last

such remaining motion is entered." Fed. R. App. P. 4(a)(4)(8). Included in the list of

motions in Rule 4(a)(4 )(A) are motions to "alter or amend the judgment under [Federal]

Rule [of Civil Procedure] 59." Fed. R. App. P. 4(a)(4)(A). Therefore, where a party files

a motion for reconsideration pursuant to Federal Rule of Civil Procedure 59, before it

files a notice of appeal, the district court retains jurisdiction to rule on the motion for

reconsideration.

        Whitnum filed her Motions for Reconsideration before she filed her Notices of

Appeal. While Whitnum did not state the rule under which she sought reconsideration,

the District of Connecticut Local Rules provide for such motions under Rule 7(c). See

D. Conn. L. Civ. R. 7(c). The Second Circuit has held that motions for reconsideration

under the Local Rules are "as a practical matter the same thing as motions for

amendment of judgment under Fed. R. Civ. P. 59(e). City of Hartford v. Chase, 942

F.2d 130, 133 (2d Cir. 1991 ). The Second Circuit has further held that, for purposes of

Federal Rule of Appellate Procedure 4(a)(4), a motion for reconsideration under the

District of Connecticut Local Rules must be treated the same as a motion under Rule

59.   kl1   Because Whitnum filed her Motions for Reconsideration prior to filing her

Notices of Appeal, the Notices will become effective to appeal from this court's rulings




        1At the time Chase was decided, District of Connecticut Local Rule 9 provided for motions for
reconsideration. Local Rule 7(c) now provides for that same motion.

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when this court has disposed of the last of the pending motions for reconsideration.

See Fed. R. App. P. 4(a)(4)(B) This court therefore has jurisdiction to resolve the

pending motions.

Ill.   LEGAL STANDARD

       Motions for reconsideration require the movant to set "forth concisely the matters

or controlling decisions which [the movant] believes the Court overlooked in the initial

decision or order." D. Conn. L. Civ. R. 7(c). "The major grounds justifying

reconsideration are an intervening change of controlling law, the availability of new

evidence, or the need to correct a clear error or prevent manifest injustice." Virgin Atl.

Airways, Ltd. v. Nat'I Mediation Bd., 956 F.2d 1245, 1255 (2d Cir. 1992) (quotation

marks omitted). The standard for granting a motion for reconsideration is strict.

Reconsideration will be granted only if the moving party can identify controlling

decisions or data that the court overlooked and that would reasonably be expected to

alter the court's decision. See Analytical Surveys, Inc. v. Tonga Partners, 684 F.3d 36,

52 (2d Cir. 2012) (citing Shrader v. CSX Transp., Inc., 70 F.3d 255, 257 (2d Cir. 1995)).

A motion for reconsideration "is not a vehicle for relitigating old issues, presenting the

case under new theories, securing a rehearing on the merits, or otherwise taking a

second bite at the apple." Analytical Surveys, 684 F.3d at 52 (quotation marks omitted).

IV.    DISCUSSION

       A.       Motion for Reconsideration of Order Granting Motions to Quash
                Subpoenas for Rule 31 Depositions (Doc. No. 145).

       Whitnum seeks reconsideration of this court's Order (Doc. No. 131) granting the

defendants' Motion to Quash Subpoenas addressed to former Superior Court Judge

Jane Emons and Supervisory Assistant State's Attorney John Whalen. See Mot. for


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Reconsideration (Doc. No. 145). The court quashed the subpoenas for failure to

comply with the requirement, under Federal Rule of Civil Procedure 31, that a plaintiff

first serve a copy of her written questions to a non-party upon the defendants. See

Order (Doc. No. 131) at 2-3; Fed. R. Civ. P. 31. Further, the court determined that the

non-parties were entitled to a protective order because "[a]lmost every question, in each

of the subpoenas, relate to events in 2013 and the plaintiff's divorce proceeding, are

argumentative, and are not discoverable under the Rules in this case, which involves

claims arising from a 2015 arrest." ,lg_. at 3.

       Whitnum argues that she complied with Federal Rule of Civil Procedure 31

because the "deposition by written question for Emons and Whalen were given ....

[and] was also served." Mot. for Reconsideration (Doc. No. 145) at 1 ,r 2. The attached

Affidavit, on which Whitnum relies for support, does not establish that Whitnum

complied with Rule 31 by serving a copy of written questions upon the defendants. See

Affidavit (Doc. No. 145-1 ). The Affidavit merely states that the affiant accompanied

Whitnum to the Office of the State Prosecutor to review records "in compliance with a

duly served subpoena." ,lg_. Assuming that the document is referring to the same

subpoenas at issue in the Motions to Quash, which is not clear from the face of the

Affidavit, the Affidavit assumes that the subpoenas were properly served, but does not

provide any basis for such a finding. Because the Affidavit cannot reasonably be

expected to alter the court's earlier Ruling, the Motion for Reconsideration (Doc. No.

145) is denied, insofar as it seeks reconsideration of this court's grant of the defendants'

Motions to Quash.




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        B.       Motion for Reconsideration of Ruling Denying Motion to Compel Full
                 Report #2013-0213 (Doc. No. 139)

        Whitnum also seeks reconsideration of this court's Ruling (Doc. No. 134) denying

her Motion to Compel disclosure of a report numbered "#2013-0213." See Mot. for

Reconsideration (Doc. No. 139). This court previously concluded that the Motion to

Compel was moot because the defendants had already produced the document at

issue. See Ruling (Doc. No. 134) at 1. Nonetheless, the court ordered the manager or

supervisor responsible for the subpoena recipient to submit an affidavit attesting that the

report had been produced in its entirety. .!Q.,. at 1-2. The defendants submitted the

affidavit as ordered, confirming under oath that the requested report had been produced

in its entirety. See Affidavit of John R. Whalen (Doc. No. 175).

        In her Motion for Reconsideration, Whitnum restates her argument that the report

was not produced in its entirety. See Mot. for Reconsideration (Doc. No. 139) at 5

,-r,r 23-24.   However, Whitnum has provided no legal or factual basis for this court to

conclude that there is "new evidence that was not available when the original motion or

response was filed," or that there is a "need to correct a clear error or prevent manifest

injustice." Virgin Atl., 956 F.2d at 1255. The Motion for Reconsideration (Doc. No. 139)

is denied.

        C.       Motion for Reconsideration of Order Granting in Part and Denying in Part
                 Motion to Compel and Denying Motion for Sanctions (Doc. No. 147).

        Whitnum moves this court to reconsider its Order (Doc. No. 135) granting in part

and denying in part her Motion to Compel and denying her Motion for Sanctions. See

Doc. No. 147. In her original Motion to Compel and for Sanctions (Doc. No. 102),

Whitnum argued, inter alia, that the defendants altered evidence. See Order (Doc. No.

135) at 2-3. Whitnum asserted that that the defense counsel "took the first page from

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Judge Holden's protective order dated 7-9-2013 (docket #50) and used the second

page from Judge Arnold's modified protective order dated October 23, 2013 (docket

#54). The attorneys altered evidence! See Exhibit C pages 5-6 and 7-8." !!tat 2.

       The court, in denying Whitnum's Motion, concluded that the documents and

pages referenced by Whitnum did not provide evidence of "alteration." Id. at 3. In her

Motion for Reconsideration, Whitnum argues that "Judge' Holden's order was ONE

page and Judge Arnolds' order was two pages," and that "by taking the second page of

Arnold's order and filing [it[ directly behind the Holden[] order," the defendants implied

that "both the original protective order and the second - the modification - both have

identical second pages. They do not." Mot. for Reconsideration (Doc. No. 147) at 1-2.

       A review of the documents indicates that, while Whitnum requested that the court

compare pages 5-6 of Exhibit C with pages 7-8 of Exhibit C, her allegation of "alteration"

was in fact directed to pages six and 10 of the Exhibit. Page six of Exhibit C appears to

be an attachment to an Order of Protection signed on 7/9/13. See Exhibit C (Doc. No.

102-1) at 6. In the section following the description. "You, the Respondent, must follow

all the orders and conditions checked or indicated by "X" below," the document on page

six includes identical language as the same section of the document on page 10, which

appears to be an attachment to an Order of Protection signed on 10/25/13. Compare

Exhibit C (Doc. No. 102-1) at 6 with id. at 10. This provides, at least circumstantial

support, for Whitnum's argument that the submissions contain an error, though it is

possible that the Orders simply used the same language, or that an extra page was

attached in error.




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       The court does not at this time find a sufficient basis to award sanctions.

However, evasive or incomplete responses to discovery would reasonably be expected

to alter this court's prior ruling on sanctions. See Fed. R. Civ. P. 37(a)(4) ("[A]n evasive

or incomplete disclosure, answer, or response must be treated as a failure to disclose,

answer, or respond."). Whitnum's original Motion directed the court to incorrect pages

of the exhibits, an avoidable error which would provide a sufficient basis to deny the

Motion for Reconsideration. However, in the interests of justice and given Whitnum's

pro se status, the court grants the Motion to Reconsider for the limited purpose of

ordering the defendants to submit an affidavit confirming that the copies of the

protective orders, as submitted in response to Whitnum's document requests, are

complete and accurate. If the submitted documents are not complete and accurate, the

defendants shall file a correction of any error along with a statement showing cause why

the error should not result in sanctions. The Motion for Reconsideration (Doc. No. 147)

is granted in part.

       D.     Motions for Reconsideration of Orders Denying Motions to Cite in John
              Whalen and Jane Emons (Doc. Nos. 145 and 153)

       In two of her Motions for Reconsideration, Whitnum moves this court to

reconsider its Order (Doc. Nos. 136) denying her Motions to Cite in John Whalen and

Jane Emons. See Motions to Reconsider (Doc. Nos. 145 and 153). In her first Motion

(Doc. No. 145), Whitnum argues that her Motion to Cite In was not, as the court

concluded, untimely, See Mot. for Reconsideration (Doc. No. 145) at 1--2 ,r 3. She

argues that the court should allow her Motion because she has the "right to amend the

complaint" and because a prose complaint should be liberally construed.       kl   In her

related Motion for Reconsideration (Doc. No. 153), Whitnum argues that Emons "needs


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to be cited in for her role and action in the August 2015 arrest." See Mot. for

Reconsideration (Doc. No. 153) at 3.

         However, Whitnum provides no support, in either filing, for a finding that there is

new, previously unavailable evidence, to support her Motion to Cite in John Whalen and

Jane Emons. Nor has Whitnum provided any basis to conclude that, in denying

Whitnum's attempt to join parties to this case at this juncture, when motions to join

parties were due by October 11, 2017, see Order (Doc. No. 79), the court committed a

clear error or manifest injustice. The Motions for Reconsideration (Doc. Nos. 145 and

153) are denied.

V.       CONCLUSION

         For the reasons stated above, Plaintiffs' Motions for Reconsideration (Docs. No.

139, 145, and 153) are DENIED. The Plaintiffs Motion for Reconsideration (Doc. No.

147) is GRANTED IN PART. The defendants are ORDERED to submit an affidavit

confirming that the copies of the protective orders, located at Exhibit C (Doc. No. 102-

1), pages 6-10, submitted in response to Whitnum's document requests, are complete

and accurate. If the submitted documents are not complete and accurate, the

defendants shall file a correction of any error along with a statement showing cause why

the error should not result in sanctions. The defendants shall submit said affidavit or

correction and statement by April 1, 2019.




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SO ORDERED.

     Dated at New Haven, Connecticut this 22nd day of March 2019.



                                           Isl Janet C. Hall
                                           Janet C. Hall
                                           United States District Judge




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  1                            UNITED STATES DISTRICT COURT

  2                                DISTRICT OF CONNECTICUT

  3
       L. "Lee" Whitnum        )
  4             Plaintiff      )      NO: 3:17cv1362(JCH)
                               )      February 5, 2019
  5     vs.                    )      11:00 a.m.
       Town of Woodbridge,     )
  6    et al                   )
               Defendants.     )
  7                            )       141 Church Street
                                       New Haven, Connecticut
  8

  9

 10                            HEARING

 11

 12

 13    APPEARANCES:

 14    For the Plaintiff           L. "Lee" Whitnum
                                   P.O.Box 7482
 15                                Greenwich, CT 06830

 16    For the Defendants: James Newhall Tallberg
                           Karsten & Tallberg LLC
 17                        500 Enterprise Drive, Suite 4B
                           Rocky Hill, CT 06067
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  1               THE COURT:     Please be seated, everyone, and good

  2    morning to you.

  3               MR. TALBERG:     Good morning, Your Honor.

  4               THE COURT:     We're here this morning in the

  5    matter of L. Lee Whitnum versus the Town of Woodbridge,

  6    et al, Case Number 17cv1362.        If I can have appearances

  7    please.

  8               MS. WHITNUM: Lisa Whitnum, Plaintiff.

  9               THE COURT:     Good morning.

 10              MR. TALBERG:      Good morning, Your Honor.       James

 11    Talberg for the Defendant Town of Woodbridge, Detective

 12    Crowther and Chief Cappiello.

 13               THE COURT:     Good morning.     We're here.   I hope

 14    it got calendared as a status conference.          I don't intend

 15    to take any action for reasons I will explain in just a

 16    moment.    If you give me a minute to get organized.             There

 17    are quite a few motions pending.          There's a summary

 18    judgment motion that's been pending a couple of months, a

 19    motion to transfer and a motion to compel a decision on

 20    that motion to transfer, various motions to reconsider

 21    the rulings the Court issued a month or two ago.           All

 22    that are subject to the Notice of Appeal.          There's a

 23   motion to restore exhibits to the docket order and a few

 24    other miscellaneous motions.

 25              I guess the first thing I'd say and I'm not
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  1    absolutely certain.       My general understanding is that

  2    when a person files a Notice of Appeal, Ms. Whitnum, as

  3    you have done, that I lose jurisdiction, if not of the

  4    whole case, at least part of the case.

  5               So given those are still pending up at the Court

  6    of Appeals is what I saw when I checked them last, I'm

  7    not going to be able to act on any of your motions until

  8    I get the case back.

  9               MS. WHITNUM:     Your Honor.

 10               THE COURT:     Yes, Ma'am.

 11               MS. WHITNUM:     I understand that's the case with

 12    the motions for reconsideration.          But I thought that the

 13    motions for stay, extension of time, and perhaps the

 14    motion to transfer could actually be addressed today.

 15               THE COURT:     I'm not really sure how I get

 16    jurisdiction if you have appealed.          I actually think it

 17    is the opposite of what you just said now that you

 18    mentioned those.     The motions to reconsider I probably

 19    should do if I'm going to rule a certain way and I don't

 20    remember what the rule is, but if I were to rule a

 21    certain way, I think the circuit wants to know I will

 22    rule that way in light of their having the appeals.              It

 23    might make a difference to them.          I will look into those.

 24              The motion for stay effectively, you have

 25    effectively got a stay by filing your notices.
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  1              MS. WHITNUM:     But, Your Honor, you provided a

  2    30-day stay and then to revisit it in 30 days and

  3               THE COURT:    So which motion is that?      Do you

  4    know when you filed that motion to extend?

  5              MS. WHITNUM:     Your order was --

  6              THE COURT:     Here it is 157 file a reply.       I see

  7    only one motion to extend.

  8              MS. WHITNUM:     I think it is 180 granting in part

  9    motion to stay, signed by Your Honor and the problem I

 10    have with that I asked that the --

 11              THE COURT:     Yes.

 12              MS. WHITNUM:     I'm asking in that that everything

 13    be stayed until 125 is answered which is more than 60

 14    days old on whether you know personally Judge Jane Emons.

 15    I have asked to transfer the case to New Jersey or other

 16    federal district court.         It is a simple question, Your

 17    Honor.   I just want to know, you know, if there's a

 18    relationship and, you know, I'm trying to cite her in as

 19    a defendant in this case for her actions in 2015, not

 20    2013.

 21              And so, you know, in light of the history that's

 22   happened here, you know, as you know, I provided proof

 23   that Judge Shea had received a notice from the Sprint

 24   Corporation and never put it in a notice or put on the

 25   record.    I don't know what's normal and customary.
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  1               THE COURT:    A notice from whom?

  2              MS. WHITNUM:     I made an issue about it because I

  3    felt it was prejudicial.      What happened was during the

  4    subpoena time, it was approximately September 4th, I had

  5    faxed over a subpoena to the Sprint Corporation to again

  6    provide me with the exact information they had provided

  7    to me back in 2015.      This is all -- 2013.     This is all on

  8    the record and then they wrote back to me.          They said we

  9    sent a letter to your subpoena in October directly to

 10    Judge Shea, and I thought and then they said here's the

 11    letter.   So then the Sprint Corporation gave me the

 12    letter and I was just surprised because I thought that if

 13    Judge Shea had received a letter that he was required

 14    maybe to put a notation on the record or something.

 15              Maybe you can enlighten me on what happens when

 16    a judge gets a piece of evidence from something

 17    subpoenaed, do they inform -- I had no idea that they had

 18    responded.    It upset me a lot.

 19              The second thing was Judge Kara Dooley, when the

 20    state police provided their subpoenaed documents, I

 21    noticed with the billboard on Route 91, with the

 22    investigation of who put up the billboard, there was an

 23    email sent to Jane Emons.      On that cc list was Kara

 24    Dooley on November 1.      I filed a motion for transfer for

25    no other lack of any motion, but I wanted an explanation
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  1    as to what her relationship was with Jane Emons.

  2                In all honesty, I had felt she had taken the

  3    ruling by Judge Shea and this is one of the very

  4    contentious issues of this case, Judge Shea said -- I

  5    have been trying to have face to face depositions with

  6    four people, you know, the two officers from Woodbridge,

  7    Jane Emons and John Whalen for a very long time now.

  8                Judge Shea in his order said that you have to

  9    try in good-faith to subpoena them, to depose them which

 10    I believe I did.     I sent out 100 pages of deposition

 11    questions.     Some of them poorly written I admit it.           I

 12    was suffering from West Nile Virus.        I was still in a

 13    fog.   I did the best I could considering I came up with

 14    400 questions and exhibits.       It was sloughing through

 15   molasses.      I had 40 percent of my red blood cells, but I

 16    did it.     Not one question to all four was answered.           So

 17    then I asked Judge Dooley.       I said, Your Honor, please,

 18    you know, they are not going to answer any questions.

 19    This is going to go on forever.        This is not justice.

 20                Can I please have what I originally asked for of

 21    Judge Shea back in September.       And Kara Dooley in her

 22    ruling wrote that he had already ruled on that no.              My

 23   argument back, if anybody listens, is that he didn't

 24   rule.      He never said no.   He said do a good-faith effort.

 25   Well,   I did do a good-faith effort.
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  1                Mr. Talberg seems to think they have been, you

  2    know, all my questions are illegible, illogical or

  3    burdensome, the usual, you know, but this is not true.

  4    They are simple questions like look at Exhibit C.           Please

  5    identify, you know, is this your signature on this

  6    document.     To not answer even one question.       That's all

  7    400 questions were all burdensome, illegible, illogical

  8    and irrelevant.     It is not true.     I would like -- so then

  9    I wrote to --

 10                THE COURT:   Can I interrupt for a second?          I

 11    think about three or four minutes ago I asked you a

 12    notice from who.     I couldn't hear Sprint Corporation.

 13    You told me that in this response.        It may be we'll get

 14    to these issues.

 15                As I said, I'm somewhat -- matters are in

 16    abeyance in light of the appeals, but if I could turn to

 17    what I had asked to -- why I wanted to have a conference.

 18    I will address with defense counsel the deposition of his

 19    clients, but I just -- you started out that you didn't

 20    want anything to happen in the case until I rule on 125

 21    which I think is basically a motion to recuse me and to

 22    transfer the case to New Jersey.

 23                I would ask you do you know of any legal basis

 24    by which a district court judge in Connecticut can

 25    transfer a case to New Jersey other than on venue
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     1   reasons?

     2              MS. WHITNUM:     Your Honor, this is not a typical

     3   case.   You know Judge Jane Emons is very powerful.

     4              THE COURT:     I don't know that.    I don't know

     5   that, ma'am.

     6              MS. WHITNUM:     Well, it is a well-known fact.

     7   She owns a car dealership.

     8              Your Honor, please.     John Whalen is the Chief

     9   State's Prosecutor.       These are extremely powerful people.

 10      This is an extremely small state.

 11                 THE COURT:     I'm a court of law.   I have to apply

 12      the law.    If you can tell me a statute or a case that
 -
 13      says that I have the power to do that, I would be happy

 14      to look at it.

 15                 MS. WHITNUM:     Your Honor, I didn't anticipate

 16      that question.    I would like a day or two to do some

 17      research and provide it back to you.

 18                 THE COURT:     That would be fine.   It is not in

 19      your initial motion.       I don't see any basis to do it.      I

 20      don't know of any.      You can take a few days.      I would

 21      love to have you file some supplemental pleading .because

22       if it is something I'm overlooking, obviously I want to

23       be aware of it.

24                  MS. WHITNUM:    Well, your Honor, you're the

25       highest judge in this case.       You are the chief
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  1    administrative judge.

  2               THE COURT:     No.     I stepped down on September 1.

  3               MS. WHITNUM:     I apologize.

  4               THE COURT:     The chief judge isn't any higher

  5    than anybody else in our system.          It is different than in

  6    the state system where the chief judge, in effect, is

  7    powerful over all other judges in terms of assignments.

  8    In our system, the federal system, that's not the case.

  9    It is different.     But it is not important.

 10               MS. WHITNUM:     Your Honor, is there a federal

 11    court in Danbury?

 12               THE COURT:     No.

 13              MS. WHITNUM:      There is only New Haven and

 14    Bridgeport and Hartford.

 15               THE COURT:     We have three seats of court.         We

 16    used to have one a long time ago in Waterbury.          We don't

 17    have it there anymore.          We had to give the space up.

 18              MS. WHITNUM:      The proximity factor Jane Emons

 19    never worked in Hartford.          The proximity factor in my

 20    mind, any way, Rocky Hill, John Whalen, Jane Emons, they

 21    all live in the region.          The likelihood of you, Your

 22    Honor, most respectfully, belonging to a group or knowing

 23    a woman's group of powerful women, you know.          Do you know

 24    Jane Emons?

 25              THE COURT:      I'm not here to be questioned.         It
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  1    is not my deposition, Ms. Whitnum.

  2                MS. WHITNUM:     If you don't want to transfer this

  3    case out of the state, maybe you should transfer it back

  4    up to New Haven so that it's a place where maybe she

  5    doesn't know as many people.

  6                THE COURT:     I think you might have misspoken.

  7    We're in New Haven.        You mean transfer to Hartford?

  8                MS. WHITNUM:     Yes.

  9                THE COURT:     I guess I think I have -- I might

 10    have the authority to do that.        Although I really don't.

 11    We're supposed to have what's called random assignments

 12    in our district in order to avoid judge shopping.           That's

 13    a real purpose for the way our system is.         It is

 14    statewide because if we only assigned in each seat of

 15    court, there's too few judges.        It could be judge

 16    shopping.     That's how our system works.      They are pulled

 17    out.

 18                So when Judge Dooley decided she couldn't sit on

 19   the case any longer,        it went into this wheel.    That's how

 20    I got it.

 21                MS. WHITNUM:     Your Honor, you asked me to come

 22   up with a case where there's been a transfer from federal

23    jurisdiction, from federal court to federal court.               In

24    Whitnum versus Hearst Corporation,        I filed a lawsuit at

25    district court in White Plains and without any
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   1   notification to me,      it was transferred up to Judge Shea

   2   in Connecticut, so there must be at least one other.

  3                THE COURT:     There is a statute.    I hope I didn't

   4   misspeak.     There is a statute.     It is called a venue

  5    statute basically.       Jurisdiction is like does the court

  6    have power over the people involved in front of them to

  7    make a ruling to bind them.        Venue is where the place it

  8    should be held and like if it were a car accident, the

  9    venue is usually where the car accident occurred.           That's

 10    kind of simplistic.        So I don't know exactly your case

 11    that went from New York to Hartford.         But I'm going to

 12    suspect that the judge there -- I'm surprised he didn't

 13    wait for motions and he didn't give you notice.           But he

 14    probably decided that this has nothing to do with where

 15    we are in New York and therefore, it belongs in

 16    Connecticut because the parties are in Connecticut, the

 17    events occurred in Connecticut, et cetera.

 18                So there is a statute that says I could move it,

 19    but I don't know anything related to this case that

 20    happened in New Jersey.       That's why I was saying if you

 21    can give me something,      you will find that statute, if you

 22    look.   I'm sure.

 23                MS. WHITNUM:    Your Honor, actually I understand

 24    it is a venue thing and having to do with the parties.

 25    The truth is the defendant in that matter was the Hearst
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  1    Corporation and Steven Schwartz was named.          He's the

  2    president of Hearst.       He's a named defendant.     He resided

  3    in New York and the Hearst Corporation is in New York so

  4    I don't know why it was transferred to Connecticut.

  5               THE COURT:     I don't either.

  6               MS. WHITNUM:     I have not pursued the case

  7    because I'm not sure I can get a fair trial in

  8    Connecticut.    I'm asking you for just a simple

  9    explanation.    Do you know Jane Emons?       If you do, maybe

 10    is she a friend of yours?       Kara Dooley was called on it

 11    and stepped down because I found the documents in the

 12    state police report that she was on the cc list and I

 13    found it curious and so I questioned her.         As it turns

 14    out, they do know each other.       I don't think it's asking

 15   too much.     I am trying to get a fair trial.        I'm trying

 16    for some fairness.      I have been treated horribly.       I've

 17   paid big prices.      Forty-one criminal court appearances

 18   that John Whalen tortured me with the court system.               I'm

 19   asking for fairness here.        I would like to have face to

20    face depositions with Whalen, Emons and the two police

21    officers.     We would put this case to bed right away.

22                THE COURT:     I doubt that very much.

23                MS. WHITNUM:    Your Honor,   I'm very tired.        I'm

24    very easy to please.       They have not approached me in one

25    way.   It could all evaporate overnight.         They don't want
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  1    to.   They want to fight and that includes the lower court

  2    cases.     I don't want to do this anymore.      I'm tired.

  3               THE COURT:     You had a motion to extend time.

  4    You asked for a motion in number 176.         I granted it in

  5    part as you pointed out correctly in early January.             I

  6    don't see a subsequent further motion so I can't act.

  7               First of all, I don't know that I can act with

  8    the Court of Appeals case pending.        Second, if I can act,

  9    if I'm correct that because you filed notices, this case

 10    is in abeyance, I don't know that you really need a

 11    further extension.      If I can act,   I can only act if you

 12    make a motion.

 13               MS. WHITNUM:     In the motion that I asked for,         I

 14    asked that -- you put in part was a 30-day extension.               I

 15    had asked that the extension be extended until the open

 16    motions were ruled upon especially number 125 on the

 17    docket so by 30 days.       The reason why I was forced to

 18    file yet another appeal is because of your 30-day rule.

 19    I don't want to fight an appeal on a motion for extension

 20    of time.    But the larger ramification force me to.

 21               THE COURT:     Before I turn to Attorney Talberg,

 22    Ms. Whitnum,   I want to address this issue of exhibits

 23    that were filed and were stricken.

 24               Now you have made a motion to file exhibits, but

 25    you also filed exhibits.       Could you tell me on the
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  1    exhibits you filed recently the end of January, Exhibits

  2    D, E, C, A, B, and F, they are number 192 down to 187.

  3    What are they exhibits to?

  4                MS. WHITNUM:   The reply I wrote this morning is

  5    all those exhibits since they were stricken, okay.              I did

  6    in the beginning gratuitously on September whatever it

  7    was,    I put most of my exhibits.     I think there was -- I

  8    don't think it was excessive.        And I explained in a

  9    motion why I did that.      You know, in the case of Whitnum

 10    v. Town of Greenwich, those exhibits were given to the

 11    clerk, never uploaded.      It was A paper file and I have

 12    never seen them again so for posterity, when I appealed

 13    that to the Second Circuit, I said to them, to the Second

 14    Circuit, you need to ask for the exhibits or they will

 15    not get them.     They didn't ask for them.      Justice was not

 16    served.     For posterity it is not even on the record which

 17    is why since the day in this court and every other that I

 18    got electronic filing,     I like to put my exhibits on the

 19    record.     This way there's no disappearing behind the

 20    counter and people get a false idea of what happened

 21    here.     I explained that pretty clearly.      I did pile them

 22    on and I saw Judge Shea's annoyance with that.          I didn't

 23    want to annoy him.     I wasn't sure why he was annoyed.

 24   Every single one of those exhibits would be going to

 25    trial.    Every single one of those exhibits would be going
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  1    to one motion or another.

  2               Since that time, the motions I filed,        if you see

  3    A, B, C, D., That all goes to a filed motion.           Attorney

  4    Talberg filed an objection the other day.          He wants all

  5    my motions stricken and all the exhibits stricken.               Why

  6    do we have a case if they can get rid of all of my

  7    motions.    If you rule on that, I wrote the reply this

  8    morning.    If you rule on that, if there's no motions and

  9    no exhibits, the big bulk exhibits, what's going to

 10    happen if we go to trial, I'm going to scan them all in.

 11    I did this in Whitnum v. Second Town of Greenwich case.

 12    I made one great big scan file at the Stamford Library

 13    scanned in 250 pages or whatever.         I have a right.

 14    There's an element when you go to Pacer trial exhibit to

 15    file,   click her.   If the right exists, I'm going to put

 16    my trial exhibits on file.       As soon as they strickened

 17    them, they don't want them on individually.          Maybe they

 18    are not relevant.

 19               At some point, if we get to that point, unless,

 20    of course, you want to bury this and make sure nobody

 21    knows what really happened here for friends or whatever,

 22    you don't disrespect, but, you know.         I would like to be

 23    able to put my exhibits on the record.          I'm not ashamed

 24    or embarrassed or hiding from them.         Although I think

 25   other people should be because they are pretty damning.
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   1   I think exhibits should be allowed on the record.            If you

   2   don't allow the exhibits that I put on in September to be

   3   on the record, then at the very least, I would like to be

   4   able to put them all together.        Maybe they took up too

   5   much room and just scan in one great big pile of

   6   exhibits, so they are on the record for trial.            In that

   7   case, I will put it under trial exhibits with the very,

   8   very optimistic belief that we're going to get past

   9   summary judgment and we will go to trial.           If the statute

 10    gives me a right to file trial exhibits --

 11               THE COURT:     We're not at trial, Ms. Whitnum.

 12               MS. WHITNUM:     What's the point of excluding all

 13    of my exhibits?     Who are we protecting here please?

 14               THE COURT:     We're not a trial.     We're not

 15    protecting anyone.      Are you familiar with the Federal

 16    Rules of Civil Procedure, Number Five?

 17               MS. WHITNUM:     I am familiar, Your Honor.

 18               THE COURT:     Discovery matters, other types,

 19    things like that, unless it is attached to a motion and

 20    relevant to the motion, like a summary judgment, you

 21    would have exhibits to attach to an opposition to summary

 22    judgment, then they come in as exhibits to the opposition

 23    to summary judgment.

 24               When we get to trial, I believe I hope somebody

 25    issued a 26(f) order in this case.         It is not mine at the
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  1    beginning.     What I normally do is I schedule things, set

  2    dates and then I attach a pretrial memo which tells the

  3    parties what they have to file in advance of trial.              In

  4    that order, you have to file, you have to exchange your

  5    exhibits and provide electronic versions to the clerk, so

  6    they are available for use during trial.           That's how they

  7    get a part of the record.        But people aren't allowed to

  8    file trial exhibits when we haven't gotten past summary

  9    judgment.     It is not timely.

 10                MS. WHITNUM:     That's true.     And they have been

 11    stricken and I know they are off there.

 12                THE COURT:     They are back again.     You say he

 13    wanted to strike all your motions.           He didn't say that.

 14    He said I want to strike the exhibits.

 15                MS. WHITNUM:    No, Your Honor, you're wrong.

 16    That's not what's happening here.           Every single exhibit

 17    that's been filed since the strickening has been attached

 18    to a motion.     He's asking to stricken all my exhibits

 19    since that time and all the motions, too.           None of those

 20    exhibits are gratuitous.        They are not there just to be

 21    there.   They are there attached to a motion.          If you see

 22    A, B, C, D because there's an attached motion.           I thought

 23    I did a pretty good job about linking them in the system

 24    to the appropriate objection or motion or reply.           He's

 25    not telling the truth with that.
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  1               THE COURT:     You filed, for example, on January

  2    23, Number 189 Exhibit C, quote, Mary Fazzone affidavit

  3    that we showed up to inspect and were turned away by

  4    statewide prosecution bureau guys by L. Lee Whitnum

  5    re:182 objection.       That was docketed on January 23.         It

  6    is a stand-alone exhibit.       It is not connected to any

  7    motion or any opposition or any pleading.

  8               MS. WHITNUM:     Actually it was.     It was attached

  9    to an objection.     Which one are you talking about?

 10               THE COURT:     I picked 189 just as an example.

 11               MS. WHITNUM:     Let me look that one up.      I will

 12    tell you what it is attached to.        Exhibit C, Mary

 13    Fazzone's affidavit that we showed up to inspect and were

 14    turned away and this goes directly re:          182 objection.

 15    The objection at 182 this was a claim that they had

 16    complied with the pretrial order and a motion compel.

 17               THE COURT:     How about Exhibit F, 192?      Subpoena

 18    for all states attorneys files which Judge Underhill

 19    refused to compel.

 20              MS. WHITNUM:      Your Honor, this goes towards one

 21    of the arguments.       I made the argument for that.      What I

 22    was trying to say there and to show you in my objection,

 23    that was Exhibit F, see notice how 187 is D, 188 is E,

 24    189 is C, 190 was A, 191B and 192 was F.          They are all in

 25    the wrong order, but they all go to the same objection.
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   1   I may not have linked it there and made it clear.              They

   2   all go to the objection which was 182.         The objection

   3   which was they claim that they were in compliance.              I'm

   4   saying no, you are not.       No, you are not.     They made some

   5   statements that's not true.         That's why I needed the

   6   affidavit of Mary Fazzone.         We did comply with Rule 31.

   7   We did do this.     All of these exhibits are there because

  8    they go directly to the exhibit.         When I put in the

  9    exhibit here, subpoena for all states attorneys file in

 10    315c0959 was twofold.      Was to show that I have been

 11    trying for years to get report number 2013-213 from the

 12    statewide prosecutor's office.         I had this one.     I had it

 13    from the lower court cases that they have refused to

 14    provide that document.      Then that was, this was to show

 15    that I have been trying.         That was an argument in my

 16    reply to their objection. I've been trying for years.

 17    Here is another proof of it.        All of these things were

 18    not gratuitously put on there.         It is part of an argument

 19    is what I'm trying to say.

 20               THE COURT:    Okay.     I understand now.     What I

 21    don't understand it is your objection to their notice of

 22    compliance.    Their notice of compliance was ordered by me

 23    when I ordered them to do certain discovery.           Now I

 24    understand it is not the discovery you wanted.            It is not

 25    the discovery you sought.        But I ordered it.     Maybe the
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  1    circuit will tell me I'm wrong.        That's fine.    If they

  2    do,   I will change it.

  3               As of now, I ordered them to do discovery and

  4    they filed their compliance report as I ordered them to.

  5    I really don't know why who was there when something was

  6    served is relevant to your objection.         What I would

  7    really like to see in your objection is, Judge, you

  8    ordered Mr. Whalen or whoever it is to answer this

  9    question and he didn't answer it.        That's what I would

 10    like to see because I can deal with that.          I can turn to

 11    Attorney Talberg and say what are you doing.

 12              MS. WHITNUM:      I thought I did do that.      But I

 13    can certainly try to do it a little bit more carefully.

 14    I can try to do it more helpfully.        That's why I applied

 15    the affidavit for sanctions and asked for $500 for my

 16    trouble, takes a lot of time to go through all of this

 17    and fight what I think is they are not doing what they

 18    are supposed to do.       The affidavit for sanctions which

 19    was part of that, was my saying all of that anyway:             That

 20    they did not comply, in my opinion, with your order and

 21    that's why I asked for.

 22              THE COURT:      I think I have read everything

 23    that's been filed.     And I don't think I have anything

 24    that says, Judge, you ordered them to answer the

 25    following question.       See attachment for their answer, it
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   1   doesn't answer the question.        Please compel them and

   2   sanction them for not following your order.          I want to

   3   know.    I know you don't agree with me as to what I told

   4   them to answer.     But if they didn't answer what I told

   5   them to answer, then I really want to know that and I

   6   want to deal with that.       And I would rather -- again I

  7    don't know what I can do with the appeals pending, but at

  8    some point,   I want to be prepared when I can move the

  9    case forward,    to move it forward and I can't move it

 10    forward if I have outstanding discovery and further

 11    orders and I'm telling the defendant to do things they

 12    should have done a month ago.        If you can file a

 13    supplement on your objection, that would be very helpful.

 14               MS. WHITNUM:     I will certainly do that.        Your

 15    Honor, if I promise to be brief, is there anyway the four

 16    people I would like to face to face depose in this

 17    courtroom we can just have.       That's a huge portion of

 18    this paper is just have depositions here.          I mean.

 19               THE COURT:     If you can hold.    I know you made

 20    that request.     I wrote it down.     I need to speak to

 21    defense counsel.     Let me see what I can do in my

 22    conversation with him to find out the history and I will

 23    get back to you depending on what I'm going to do and you

 24    can make further argument.

 25              Attorney Talberg, the two named defendants, the
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  1    two police officers who are parties to this case, have

  2    not been deposed?

  3                MR. TALBERG:     They have not.     May I explain why?

  4                THE COURT:     Yes.

  5                MR. TALBERG:     So the case was filed August 2017.

   6   There was a preliminary discovery deadline of February

  7    10, 2018.     It was extended four times, not at the request

  8    of the defendants, but at the request of the plaintiff.

  9    It was moved to July 1.           Then let me make sure I have

 10    these right.     I know it was moved to July, then moved to

 11    September 1.     Then it was moved to October 1.        The first

 12    kind of discovery request we received in any form from

 13    the plaintiff was on or about September 7, 2018 when we

 14    received not a notice of deposition but an attempt to

 15    compel written questions by deposition.

 16                THE COURT:     I'm familiar with it.     You don't

 17    have to describe it.

 18                MR. TALBERG:     So you read those.     Those were

 19    hundreds of questions.

 20                THE COURT:     Those were to the two nonparty as

 21    well as to your clients?

 22                MR. TALBERG:     As well to my clients.     We did our

 23    best to answer the 100 or so questions.

 24                THE COURT:     Is it your position that you never

 25    received the Notice of Deposition for either Officer
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  1    Crowther or Officer Cappiello?

  2                MR. TALBERG:     That is our position.

  3                MS. WHITNUM:     Your Honor, I have the people who

  4    served them here Mr. Spurt and also Ms. Fazzone are here.

  5    They served these.

  6                THE COURT:     Served what?   What did they serve?

  7                MS. WHITNUM:     Mr. Spurt, who is in the audience,

  8    served the two police officers along with all the

  9    exhibits.

 10                THE COURT:     What did he serve?

 11                MS. WHITNUM:     He served more than 100 deposition

 12    questions along with the --

 13                THE COURT:     I understand that.

 14                MS. WHITNUM:    Mary Fazzone and then to the

 15    non-named parties, I hired a process server.           He filed an

 16    affidavit.     It is all on the record.      And then Mary

 17    Fazzone served the deposition by written questions of the

 18    non-party witnesses to Attorney Talberg to the glass in

 19    their office.     It's all been uploaded.

 20                THE COURT:     I'm well aware of that.     I thought

21     you were asking me for the opportunity to take a

22    deposition with the person in the room what is a

23    traditional deposition.        Not one on written questions but

24    where you ask a question and they answer the question

25    with the stenographer taking and making a record.             Is
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  1    that you are asking that you want?

  2                  MS. WHITNUM:     Absolutely not.   I'm countering

  3    what he just said.         I would like to be able to have the

  4    face to face depositions and Judge Underhill very

  5    graciously allowed me to do this in the Whitnum v. Town

  6    of Greenwich case and it went smoothly.          When the time

  7    came where the person who had, you know, hurt me was put

  8    on the stand and Judge Underhill made him answer the

  9    question and it solved quite a bit.

 10                  THE COURT:     The problem is you said probably 20

 11    minutes ago.       You reference the two police officers from

 12    Woodbridge.       You said you just want their depositions and

 13    you have been asking for a long time.

 14                  Counsel has just told me you never served on

 15    counsel a Notice of Deposition which the rules call for

 16    if all you want is to question someone face to face on

 17    the record.       It doesn't take serving hundreds of

 18    questions.       If you want an oral deposition, you file,        you

 19    serve a piece of paper that says I want to take this
                 '

 20    deposition on this day.

 21              MS. WHITNUM:         Your Honor, please.

 22              THE COURT:         Have you ever served that?

 23              MS. WHITNUM:         Your Honor, I have been in many

 24    depositions and I know what's going to happen.            I'm going

 25    to get there.       There's no one like Your Honor to be able
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  1    to say answer the question, tell the truth.           I have had

  2    lawyers tag teaming me.       Don't answer that.      $2,000 later

  3    and I have no questions answered.         I'm a woman.     I'm pro

  4    se.   I have exercised that exercise in futility too many

  5    times.    It is expensive.     I don't mind paying for the

  6    depositions here, but I want answers to my questions, not

  7    games, tricks.     I have seen it all.      I don't have the

  8    kind of money to waste the time on that which is why I

  9    did deposition by written question because it is a

 10    question.     It is in writing and, you know, I can't pay

 11    for court reporters in a private place and have a waste

 12    of my time.     I know it is going to be a waste of my time.

 13                THE COURT:   You can notice the deposition for

 14    one of the conference rooms in a courthouse building if

 15    you would like.     You can do that.      Whether a judge can be

 16    available to help if there are problems.          I'm sure

 17    Attorney Talberg will represent his clients, but he's

 18    also -- I don't find him to be a particularly difficult

 19    attorney, but I can't guarantee that.

 20                But I guess bottom line, I don't have a problem

 21    with you're way out of time, but if you want to depose

 22    the two defendants, I will let you do it, but I'm really

 23    confused.     You told me first you wanted to do it.         Then

 24    when I asked you had you ever noticed a deposition, you

 25    tell me how you have served all these written questions
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  1    which isn't what I'm asking do you want.         It is

  2    different.    One is a set of written questions.          I ruled

  3    on them right or wrong.      The circuit maybe will tell me.

  4    But if you want a deposition on oral questions,           I thought

  5    you said you did, but now I'm confused.

  6               MS. WHITNUM:    I don't understand why this is

  7    confusing and his timing is wrong.        I asked from the

  8    get-go.   A long time ago.      It has to be a full year ago.

  9    I asked Judge Shea we need face to face depositions

 10    because I have been through a lot of bad experiences.               I

 11    would like just to have a judge in the room.          Your Honor,

 12    I have been in a room where people have asked me to

 13    answer questions. I didn't want to answer it.            They put

 14    handcuffs on me.     Drag me away.     Next time I will say

 15    drag me away and forced me to answer a question that was

 16    irrelevant, unnecessary.       I don't understand why I get

 17    the strong arm tactics when people want information out

 18    of me and I can't seem to get the same thing.

 19              What I have been asking a very long time is

 20    Judge Shea, Judge Shea to sit in on deposition for the

 21    four defendants.     If I want to be limited to 20 minutes

 22    for each one and including the named defendants as

 23    witnesses, Judge Emons behavior and her demand of my

 24    arrest in 2015 is a well documented fact.

 25              There's another factor that you don't know about
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  1    this.   They provided 100 plus pages of discovery items on

  2    the penultimate day of discovery.        I found a document

  3    there that was very, very, very important.

  4               If I had conducted depositions before receiving

  5    their paperwork, it would have been q waste of time.             Now

  6    that they have submitted all their paperwork, it changes

  7    the questions.     Now those 100 questions maybe 120 I don't

  8    know.   Probably pared down by now, but if you could just

  9    have the opportunity to have 20 minutes with all four, we

 10    would cut right to the chase and just get down to what

 11    happened here instead of all of these things.

 12               MR. TALBERG:     If I may, Your Honor, I think I

 13    had the floor and was explaining why my clients weren't

 14    deposed.    May I continue?

 15               THE COURT:     Sure.

 16               MR. TALBERG:     There had never been a written

 17    Notice of Deposition.       If there had been, we would have

 18   made arrangements.

 19               MS. WHITNUM:     Not true.

 20               MR. TALBERG:     Plaintiff was warned repeatedly.

 21               THE COURT:     Please don't interrupt.     You have

 22    spoken for a good thirty minutes this morning.          I turned

 23    to counsel for defense.       He has the right to be heard.

 24               MS. WHITNUM:     They are on the record so.

 25               MR. TALBERG:     So the plaintiff was warned
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   1   several times by the Court the deadline won't be

  2    extended.     It won't be extended.      Then 21 days before the

  3    expiration we got this awkward batch of questions.               For

  4    the record, when Your Honor did order on the motion to

  5    compel, that the defendants must answer certain

   6   questions, we answered those certain questions and so the

  7    Notice of Compliance that we filed January 2 was just to

  8    indicate to the Court that we had complied.

  9                So here at this last point, we filed our motion

 10    for summary judgment, November 20.         It would seem to be a

 11    hardship at this point and prejudicial to reopen

 12    discovery when plaintiff let the deadline pass and expose

 13    our clients to depositions and so, I would have to object

 14    to that, Your Honor.

 15                I suppose there's nothing pending before the

 16    Court in that regard because there hasn't ever been a

 17    Notice of Deposition.

 18                And I also agree with what you said at the

 19    beginning.     We're in this awkward procedural phase.           It

 20    is my understanding any time the Second Circuit takes an

 21    interlocutory, there is no jurisdiction with the district

 22    court.   That's why we're so puzzled by all these things

 23    that keep getting filed.

 24                For example, January 2, there were 13 of these

 25    exhibits filed by plaintiff which they redundant,
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  1    duplicative.     They have been filed before.       I'm trying to

  2    manage this and narrow this dispute, Your Honor.

  3               MS. WHITNUM:     Your Honor, first of all.

  4               THE COURT:     Excuse me, ma'am.     I'm still

  5    speaking to counsel.

  6               MR. TALBERG:     They shouldn't be filed just for

  7    posterity.     We're trying to narrow the issue so when we

  8    get to the core legal issues that are framed in our

  9    motion for summary judgment.

 10               MS. WHITNUM:     Your Honor.

 11               THE COURT:     I haven't finished with Attorney

 12    Talberg.     I get to pause and think about what I want to

 13    say to him.

 14               It is your representation to the Court, counsel,

 15    that you have never received a Notice of Deposition for

 16    either of your clients?

 17               MR. TALBERG:     There appears to be no dispute.

 18               THE COURT:     Don't say that.     Just answer.

 19               MR. TALBERG:     That's correct. I have not, Your

 20    Honor.

 21               MS. WHITNUM:     That's not true.     I have the guy

 22    who served it over here.       He can testify to it.        That's

 23    just not true.     He's lying.

 24               THE COURT:     You are misunderstanding, Ms.

 25    Whitnum.     I asked the question.     I will go back and read
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  1    it from the transcript was a Notice of Deposition that's

  2    under Rule 30 for a deposition on oral questions.           It

  3    provides a location, and a date, upon which a person.            In

  4    this case, a party, is required to appear and answer

  5    questions on a stenographic record face to face as you

  6    keep saying.

  7               It is a not a list of written questions which

  8    the person it served on can when they feel like it, they

  9    can sit down on Saturday, sit down on Monday, they get to

 10    answer the questions.      If they don't object and they

 11    provide the answers in the time period allowed by the

 12    rule.   That's a different rule.

 13              He has said that you never filed a Notice of

 14    Deposition under Rule 30 which is a party may by oral

 15    questions depose any person including a party without

 16    leave of court except as provided in another part of the

 17    rule.

 18              B says a party who wants to depose a person by

 19    oral questions must given reasonable written notice to

 20    every other party and must state a time and place of the

 21    deposition.

 22              MS. WHITNUM:     And I've said to you that I never

 23    wanted to do oral deposition in a place, in an obscure

 24    place, paying for a court reporter.        I have done that

 25   many times and it is usually a waste of time.
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   1               Can you read the statute that says for

   2    deposition by written question which I didn't even know

   3    existed until Federal Judge Underhill gave me that option

   4    one day.    So please do not read me the Notice of

   5    Deposition for a deposition when I have already told you

   6    I never wanted to depose him because I don't have

   7    thousands of dollars to bang my head against the wall

   8    with a bunch of lawyers preventing their client from

   9    answering any questions which is why I come back to my

  10    original question asked to Judge Shea a year ago.            Let's

  11    cut to the chase in this case.        Let's have the

  12    depositions in the courtroom, 20 minutes and we're done

  13    and it's finished.      I'm asking you.     That's still a

 14     question on the table, Your Honor.

 15                 He before said before he said 21 days before

 16     the end of discovery, they were served with the

 17    deposition by written question.         21 days.    According to

 18     statute, they have 20 days.        So they had a full extra day

 19    to answer the questions.        Now you've looked at the

 20    questions.     You have agreed with them that they are

 21    illegible, illogical, burdensome even questions which is

 22    why this is at the appeals court.          A simple question like

 23    identify on the exhibit the signature there.            These are

 24    not all illegible and illogical.         They are questions.

 25    Four hundred questions all of them are burdensome,
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   1    illogical, illegible, irrelevant.        It is impossible.        I

   2    am not that stupid.      So, you know,   I served it in time.

   3    I got the guy who served it here.        They didn't answer

   4    anything.     They turned in to you.     I ask them to compel.

   5    Can we believe have face to face depositions and you tell

   6    me I didn't file a notice for oral deposition.           I have

   7    been fighting against that from the get-go from a year

   8    ago.   That's not going to work.       They are not going to

   9    answer anything.

  10                The only thing that's going to work.        These are

  11   powerful people.      These are powerful people and they are

  12    all lawyers and they know the game.         The only thing

  13    that's going to get them to answer questions is someone

  14   who can peel the layers of friendship, of camaraderie, of

  15    cocktail party camaraderie and say to John Whalen, sir,

  16   this police report differs from her phone records. Isn't

 17     it true, sir, that you altered her phone records on your

 18    report 2013-213?      That's very, very hard.

 19                 You're asking for the second highest law

 20    enforcement person in the State to admit he criminally

 21    framed a political candidate for a friend.           That is

 22    monstrously huge.      I understand the situation you are in

 23    which is why I asked you please, please, allow this case

 24    to be transferred to New Jersey or New York.           It's too

 25    dangerous even for me.       Please transfer this.      You get to
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   1   wash your hands of it.        You keep your friendship circle.

   2    There's nobody mad at you.       Everything is good.      We need

   3    justice.

   4               THE COURT:     Do you know I have lifetime tenure?

   5               MS. WHITNUM:     I know that.

   6               THE COURT:     I don't care when people are mad at

   7   me.   It is the beauty of the federal system.          Unlike the

   8   state system.     People are always mad at me.        They don't

   9   like my rulings. I ruled against them.          Why didn't I rule

 10    for them.     It doesn't matter to me because, you know, I'm

 11    here and I will be here tomorrow and what people think is

 12    really not what drives a federal judge.          I understand you

 13    don't agree with my rulings.        And I could be wrong, you

 14    know, I'm not perfect but there's absolute.           That's the

 15    beauty of the federal system.        I just am not.     I don't

 16    really care what people think.        I hope they think I'm

 17    thoughtful and that I listen and that I spend time to try

 18    to figure out what's the right answer.          Might not always

 19    get it right but I try.       At the end of the day, that's

 20    all that matters to me.       I digressed.

 21                I have to say, Ms. Whitnum, I am confused.            In

 22    the space of a page on the transcript, you said, quote,

 23    and I never said to you I never wanted to do oral

 24    deposition in a place, then less than a page later, you

 25    say let's have a deposition.
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   1               MS. WHITNUM:     Okay.   All right.     A Notice of

   2    Deposition would have been sent out if judge -- if I were

   3    going to hold my own deposition with my own private court

   4    reporter and I made this abundantly clear.           That's a huge

   5    waste of time.     That's very expensive.        There's no

   6    governing body.     No one to say you're lying.        They will

   7    play games with me.       I've sat in depositions where I had

   8    lawyers tag teaming me on my dime, a thousand dollar

   9    later and there's no discernible answerable question.

  10    When you say oral deposition, yes, I would like oral

  11    deposition.     I have been begging for it for a year.           In

  12    this courtroom,    I will stand right there.        Twenty minutes

  13    top with each one.      We'll go right to the question.          If

  14    they don't want to answer the question.          Mr. Whalen is

  15    this your signature.       Answer the question.     It is not

  16   burdensome.      It is not irrelevant.     Answer the question.

  17    If they don't want to answer, I will turn to you and say,

  18   Your Honor, please make him under threat of arrest and

 19    the way I have been put under threat of arrest in the

 20    past, make him answer the damn question.           That's all.

 21    That's all I want.       I want to cut to the chase.       Maybe

 22    five,   six questions to each person.        It is not years and

 23    months and games and tricks.         I just want the questions

 24    answered.      That's all so I mean.

 25                THE COURT:     I know of no procedure that would in
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   1    any of the rules.      Well, you're exacerbated with me.           I

   2    appreciate you may think it is more practical to do what

   3    you want to do.      I took an oath to uphold the law and the

   4    law tells me if you want discovery then you do it a

   5    certain way.    That way doesn't include convening court

   6    and taking testimony.      That's called a trial.       That's

   7    where we have a trial.

   8              MS. WHITNUM:     No, no.     Your Honor please.        If I

   9    hadn't done it with Judge Underhill. I asked Judge

  10    Underhill.     I said they are wholly non-responsive to

  11    deposition by written question and I said can we hold

  12   deposition in the courtroom.          Judge Underhill said

  13    absolutely.    Just like that.       We had the player that was,

  14   you know, noncompliant in the courtroom and he had to

  15   answer the questions honestly.          It was fast.    I paid for

 16    it.    It was fine.     I don't understand why this is a

 17    problem unless you're protecting your friends.            I'm

 18    sorry, Your Honor.      I mean you no disrespect.        This is

 19    done all the time.

 20               THE COURT:     I have been a judge 21 years.         I

 21    have never done it.       Maybe Judge Underhill did it.         I

 22    don't know.     Maybe I will ask him how he did it or why he

 23    did it.    Maybe I will do it.        I don't know.    It is not

 24    done all the time.      I can tell you that, Ms. Whitnum. It

 25    is definitely not done all the time.
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   1              MS. WHITNUM:     I draw your attention to the

   2    record, Your Honor, Federal Judge Shea in his ruling said

   3    something like okay, but before we take that step, try to

   4    do it yourself and have a good-faith effort.          He didn't

   5    say this is not done.      I never heard of such a thing.         He

   6    seemed to think it was okay.       I will show you his ruling

   7    if you like.

   8              THE COURT:     Is it on the docket?

   9              MS. WHITNUM:     Yes, it is.    Yes, it absolutely

 10    is.

 11               THE COURT:     37 you think, Muji?

 12               MS. WHITNUM:     It is 37.

 13               THE COURT:     Yes.

 14               MS. WHITNUM:     Here it is.    This is Judge Shea's

 15    words.   Plaintiff suggests that she anticipates that

 16    certain witnesses may refuse to answer certain questions

 17    she may pose at the deposition.         If those questions seek

 18    discovery within the scope of Federal Rules of Civil

 19    Procedure 26I(e) discovery that does not seek privileged

 20    information and is relevant to a claim or defense, and

 21    proportional to the needs of the case.          Then he says see

 22    26B then a failure to answer by a witness may result in

 23    sanctions including, for example, second deposition

 24    conducted at the witness's and/or the witness's counsel

 25    expense at which the witness could be required by court
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   1    order to answer relevant questions that he or she had

   2    previously refused to answer.        The parties are reminded

   3    those conducting depositions are also bound by -- okay.

   4    The Court expects the parties and counsel to comply with

   5    these rules.     If there is a problem at the deposition

   6    with respect to a particular question, each side should

   7    make a record as to that question and the witness counsel

   8    should set forth the objection, any proper basis to

   9    instruct the witness to refuse to answer and the

  10    examining party should set forth why the question should

  11    be answered so that the record will be available to the

  12    Court and the deposition should then continue with

  13    respect to the remaining questions.

  14                After the deposition, the party may, after

  15   making good-faith efforts to resolve the dispute

  16    themselves, which may be documented by the affidavit,

  17    file a discovery motion with the Court, requesting that

  18    the Court resolve the dispute and supply the Court with

 19    pertinent record.

 20                THE COURT:    I would have said exactly the same

 21    thing.    That's how I expect somebody who wants an oral

 22    deposition.     He's basically warning the parties to

 23    behave.     Then he says if you don't behave, there will be

 24    a motion.     If I agree with person making the motion that

 25    the other side didn't behave under the rules, I will
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   1    sanction them and we'll have another deposition that will

   2    be paid for by the offending party.         He's not saying he's

   3    going to sit in the courtroom and preside over the

   4    deposition.

   5              MS. WHITNUM:     But I was asking for that.       He

   6    didn't say no.     He didn't say it is not done because I

   7    have done it before.      Judge Underhill did it.       He didn't

   8    say it is not done. He's saying this what you do.           I

   9    submitted their answers and you came back that you agreed

  10    100 questions,    400 questions were irrelevant, burdensome

  11    you read some of them.      Seems to me they have answered

  12    some questions, yeah, name,      rank and serial number; name,

  13    rank, and serial number.       These are irrelevant questions.

 14    You agreed with them.       That looks like they did their

 15    part.    No.   That's why we have an appeal.        They didn't do

 16    their part.     They didn't answer any questions.         They

 17    didn't answer any questions.        I already know their names.

 18               THE COURT:     Can I state for the record that the

 19    judge's order at Docket 37 which was just read in part by

 20    Ms. Whitnum was a denial of a motion for judicial

 21    intervention during deposition.         Now I don't have a copy

 22    of that in front of me.       But certainly by its title it

 23    suggests that you were looking to take an oral deposition

 24    under Rule 30 and you wanted the judge to intervene and

 25    that was his ruling.      Now it is possible in your motion,
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   1    can you open number 36, Muji, and tell me if there's

   2    anything in there about written questions?

   3                Attorney Talberg, I understand we're out of

   4    time.   I know I've said I wasn't going to extend the

   5    time.   As long we're delayed with the Court of Appeals

   6    business,    I don't see why the two clients that are

   7    parties to the case can't give an hour deposition and

   8    that we can't hold it in the courtroom, subject to Judge

   9    Shea's exhortation about what's allowed in a deposition

  10   by way of objection and a record will be made and if

  11   Ms. Whitnum's optimism is mistaken that she can in 20

  12   minutes get the answer she needs because there isn't a

  13    judge sitting in the room, then she can make a motion and

  14    I will have the transcript, and if I decide that your

  15    client should have answered, well, you will be paying for

  16   the second one.      If your answers were fine,      if your

 17    objection was reasonable because well, not many

 18    objections are reasonable in a deposition so I won't say

 19    that.    But if they were, then her motion to compel would

 20    be denied.      What's wrong with that, Attorney Talberg?

 21    Other than I know you would rather not have your clients

 22    give depositions but.

 23                 MR. TALBERG:   What's wrong with that is

 24    basically was the road map that was given to the

 25    plaintiff back 10 months ago in April.          If we received
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   1    the notice, we would have complied.          It never happened.

   2                THE COURT:     I'm not sure she wants one now.         But

   3    my view is it can be held in the courtroom if I'm

   4    available to intervene if there's a problem, I will

   5    intervene that day. I can't guarantee you I will be

   6    available.     I may have something else scheduled or not be

   7    in the courthouse.       If I'm available, I will intervene.

   8    If not, I will ask Magistrate Judge Merriam to intervene

   9    as to whether a question should be answered or not

  10    answered.     If nobody is available, there's a record and

  11    we'll hear it later.        I think a good place would be the

  12    lawyer's lounge across the hall.         It be done in the next

  13    couple of weeks and let's see if that takes care of it

  14    all as Ms. Whitnum seems to think it will.

  15                MR. TALBERG:     I can't imagine a scenario where I

  16    would need a judge to referee any question in a

  17    deposition.     It seems that plaintiff is committed to 20

  18   minutes of limited questions.         I wouldn't have a problem

 19    with that.      I have stated my -objection.      I understand you

  20    are overruling me already.

 21                 THE COURT:     I know you have to object.      I'm a

 22     firm believer in deadline lines.         I think Judge Shea

 23    couldn't have been clearer and extended it once.             I

 24    extended it to require the discovery that I ordered.                I

 25    am not going to order it as to the non-parties.             I'm not
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   1    letting it be cited in.       I think as the two officers who

   2    are defendants in the case, a short deposition is

   3    perfectly reasonable and probably a good thing to have

   4    happen.    If you don't want to do that because you think

   5    it will be a waste of time, I understand that, Ms.

   6    Whitnum.     But I'm saying that if you want to notice it

   7    for the lawyer's lounge in this courthouse, 141 Church

   8    Street in the next couple of weeks.         I will try to make

   9   myself available or I will see the magistrate judge is

  10    available.     She does discovery disputes as well.         I would

  11    allow you an hour with each.        I know you said 20 minutes

 12    but it takes a while to get going and whatever. I would

 13     say an hour deposition.

 14                I would reinforce to Attorney Talberg what Judge

 15    Shea said in his order, but I would also emphasize to you

 16    because you sometimes do bring in issues that obviously I

 17    don't think are relevant.        This case relates and these

 18    two defendants are sued for arresting you in 2015 based

 19    upon what I think you believe and you may be right but

 20    what you believe was a terminated protective order.                In

 21    other words, a protective order that wasn't in effect so

 22    they had no basis to arrest you.          No probable cause.       And

 23    so that's what I would like you to focus on in the

 24    deposition for these two officers.

 25                MS. WHITNUM:    But, Your Honor, there is, okay,
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   1    maybe I don't have a strong legal argument to cite in

   2    John Whalen in 2015.      But in 2015, jane Emons was wholly

   3    instrumental, the Woodbridge Police had already done an

   4    investigation that I did not ring her bell and run back

   5    in 2013.     She put up Marshal Kirschner, and I didn't find

   6    this out until the penultimate day of discovery that she

   7    put up Marshal Kirshner who is a judicial marshal, to

   8    call up the Woodbridge Police Department.           These poor

   9    guys I feel badly for them.        I didn't mean to drag them

  10    into this.    They were totally manipulated by Marshal

  11    Kirshner who was quite unabashed, according to Officer

  12    Karuther was put there by Jane Emons.          These officers

  13    only knew what they were told.        They are not telepathic.

  14               The problem is by not citing in Jane Emons,

  15   okay, by not citing, now should they have investigated

 16    when I was telling them you're wrong.           There's no active

 17    protective order.       This protective order was bogus from

 18    the get-go and based on an investigation that you guys

 19    had already concluded I was not guilty.           They didn't

 20    believe me at the time.        They believed people with

 21    position and authority.        I'm a nobody.     Jane Emons lied

 22    to Kirshner who then lied to the police officers.             The

 23    police officers were negligent in not doing their

 24    investigation and believing me but you cannot, Your

 25    Honor, you cannot not include Jane Emons and Marshal
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   1    Kirshner, Kirshner needs to be deposed.          He was the one

   2    who told the police officers that the protective order

   3    was not based on what they had already investigated and

   4    concluded --

   5               THE COURT:     Why didn't you depose them a year

   6    ago?

   7               MS. WHITNUM:     Because I just got the document

   8    the penultimate day of discovery.         I have no way of

   9    knowing Marshal Kirshner's involvement.          I had no way of

  10    knowing.    Marshal Kirshner was put up to it --

  11               THE COURT:     I'm looking at an arrest warrant

  12    application.    I believe signed by Sergeant Cappiello, one

  13    of the defendants.       It is dated August 5, 2015.      He

  14    swears -- actually it is Officer Crowther being sworn and

  15   deposed, et cetera, et cetera.         Then he says paragraph 1

  16   on Friday, July 31, 2015, this affiant received a call

 17     from Robert Kirshner who is in charge of the Superior

 18    Court operations.        That he was notified by the victim

 19    Jane Emons.     I don't know.     When you are charged in state

 20    court, don't you get discovery?         You never got a copy of

 21    the warrant application?

 22                MS. WHITNUM:    Your Honor, that is another motion

 23    that's coming.     Okay.    I never got any of the

 24    documentation.     When I was there to turn myself in they

 25    gave me the arrest record.        That report that you read
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   1    from I got it from him the penultimate day of discovery.

   2    During discovery.        I didn't have it.    I don't know.       Do

   3    you think that when I went there

   4                THE COURT:     I have to interrupt you.     I

   5    scheduled this for 30 minutes.        I have a 12:00 conference

   6    call in my chambers in a criminal matter so I have to

   7    recess.

   8                MR. TALBERG:     Quickly, Your Honor.     It's hard to

   9    say in the next couple of weeks we're going to just drop

  10    into my calendar.        I don't know about my officers'

  11    availability.     Frankly all due respect, if we were

  12    strictly following the law, does the court have

 13     jurisdiction at this point to compel us to do that or

 14     would it be more appropriate for us to wait until it

 15     comes back from the Second Circuit say there's going to a

 16    window 30, 60 days after it's back in the district court.

 17                 THE COURT:     You can strike the 60.     Strike the

 18    30.     If we wait until it comes back from the circuit, I

 19    will give you two weeks' notice and your officers will be

 20    available and you will be available.          That's fine.     We

 21    can wait until it comes back and I will issue an order.

 22                MS. WHITNUM:      Your Honor, what are we doing

 23    here?      Discovery --

 24                 THE COURT:     We're standing in recess is what

 25    we're doing.      Thank you.
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   1                (Whereupon, the above hearing adjourned at 12:01

   2    p.m.)

   3

   4

   5                COURT REPORTER'S TRANSCRIPT CERTIFICATE.

   6    I hereby certify that the within and foregoing is a true

   7    and correct transcript taken from the proceedings in the

   8    above-entitled matter.

   9

  10    /s/     Terri Fidanza

  11    Terri Fidanza, RPR

  12    Official Court Reporter

  13

  14

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                              UNITED STATES DISTRICT COURT
                                DISTRICT OF CONNECTICUT


L. LEE WHITNUM,
      Plaintiff,                                                 CIVIL ACTION NO.
                                                                 3:17-CV-1362 (JCH)
        V.

TOWN OF WOODBRIDGE, ET AL                                        DECEMBER 12, 2018
    Defendants.


     RULING RE: PLAINTIFF'S MOTION TO AMEND COMPLAINT (DOC. No. 105)

        By Motion filed on October 16, 2018 (Doc. No. 105), the plaintiff, L. Lee Whitnum,

has requested leave to amend her Complaint. As grounds for her request, she cites 68

pages of discovery recently received. 1 The defendants have objected to the Motion for

Leave to Amend (Doc. No. 109).

        The plaintiff correctly cites Rule 15: "(a) A party may amend its pleading only with

the opposing party's written consent or the court's leave. The court should freely give

leave when justice so requires." Fed. R. Civ. P. 15(a)(2). There are two aspects to the

proposed amended complaint, which the court addresses. First, beginning at paragraph

eight and continuing to paragraph 33, the plaintiff seeks to add pages of pleadings

which are not appropriate allegations in connection with stating a claim pursuant to

Rule 8 (a complaint should contain a "short and plain statement" showing entitlement to

relief). In effect, the plaintiff appears to plead evidence. This is inappropriate. 2 Further,




        1 However, the court does not see reference in her Motion to Amend or Reply to any of this new
discovery as it would relate to the proposed amendments, and justify the amendment.

       2 In making this observation, the court does notin any way suggest that what is alleged in these
paragraphs is relevant evidence to the plaintiffs claims plead in the first 7 paragraphs.


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the additional pleading in paragraphs 8-33 relate to former Superior Court Judge Jane

Emons, the plaintiff's divorce proceedings, the plaintiff's arrest in 2013 and related court

proceedings, and Judge Emon's re-confirmation hearing in 2018. None of this is

relevant to this case, which was brought to assert causes of action arising out of an

arrest of the plaintiff in August 2015. Thus, the court will permit the plaintiff to docket an

amended complaint that contains paragraphs one through seven of her proposed

amended complaint, which contain additional allegations that relate to her 2015 arrest.

       The other aspect of the plaintiff's proposed amended complaint is that she seeks

to add seven new causes of action against all defendants: first amendment, conspiracy,

section 1983 violation, due process, another conspiracy, speedy trial, and defamation.

The defendants object to the addition of new causes of action claiming that discovery is

closed, they are in the midst of preparing a dispositive motion, 3 and this will prejudice

them. While the court understands that the allowance of the filing of an amended

complaint may necessitate the defendants' modification of their summary judgment

motion, the court can cure that by providing the defendants with an additional,

reasonable time period to file a supplemented or amended summary judgment motion.

As the court has limited the amendment to some additions to plaintiffs original claims as

set forth in paragraphs 1-7, the basic allegations of fact by the plaintiff have not

changed in this proposed amended complaint. It continues to allege that the

defendants caused her to be arrested for violation of a protective order that did not exist

and, as a result, she was damaged.




       3   A Motion for Summary Judgment has been filed (Doc. No. 121).

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         To the extent the plaintiff seeks to add a cause of action under section 1983 of

title 42 of the United States Code for a violation: of her first amendment rights; of her

right to due process; and of her right to be free from false arrest, 4 an amended

complaint may be filed claiming those causes of action. 5 The court adds that the

plaintiff may file an amended complaint, which asserts a cause of action for defamation

and defamation per se under state law.

         To the extent plaintiff seeks to amend to add claims for "violation of the

constitutional right to speedy trial sixth amendment," see Proposed Amended Complaint

(Doc. No. 105) at 1J 46, the Motion to Amend is denied. The only possible violation of

plaintiff's speedy trial rights, even considering allegations the court has not permitted,

would have arisen out of the 2013 arrest and prosecution. No allegation asserts either

of the defendants were involved in the 2013 arrest and prosecution.

        To the extent the defendants have claimed that the allowing the assertion of

causes of action would be futile, the defendants may assert,~. a special defense that

the plaintiff's claims are barred by the statute of limitations, and move for summary

judgment on that basis.

        The plaintiff will have 14 days from the date of this Ruling to file an amended

complaint consistent with this Ruling. Any amended complaint filed that sets forth more

than paragraphs 1-7 of the proposed Amended Complaint and paragraphs 34-45 will be

stricken. The defendant may file an amended or supplemental summary judgment




      4 While it is not clear from the proposed amended complaint, the court reads the proposed

amended complaint to assert a false arrest claim under section 1983 and state law.

         5 The court is not addressing whether any newly added causes of action are futile or fail to state a

claim; the court expects defendants will raise any such claims in their revised summary judgment motion.

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motion no later than January 17, 2018. The plaintiff will file her opposition to the

amended or supplemental summary judgment motion and the motion now pending no

later than February 17, 2019.

       To the extent the amended complaint purports to assert additional allegations,

and causes of action, the defendant should ignore such pleadings and proceed to

prepare its amended/supplemental summary judgment motion as to claims and

allegations as permitted by this Ruling or originally asserted in the Complaint.

SO ORDERED.

       Dated at New Haven, Connecticut this 12th day of December 2018.




                                                        Isl Janet C. Hall
                                                         Janet C. Hall
                                                         United States District Judge




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                                    CERTIFICATION

       Under penalty of perjury, I hereby certify that on May 9, 2019 copy of the Petition

for Writ of Mandamus, Exhibits and Motion to Proceed Forma Pauperis and T-1080

were sent via Federal Express to the judge of record:

      Judge Janet Hall
      US District Courthouse
      141 Church St.
      New Haven, CT 06510

       Please see the attached receipt of mailing.

Sincerely,




s/L. Lee Whitnum




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                                            CERTIFICATION

               Under penalty of perjury, I hereby certify that on May 2, 2019 copy of the
t
         Petition for Writ of Mandamus, Exhibits and Motion to Proceed Forma Pauperis and T-

         1080 were sent via the private carrier United Parcel Services to:

               Kirsten & Tallberg, LLC
               500 Enterprise Drive, Suite 48
               Rocky Hill , CT 06067


               Please see the attached receipt of mailing.

         Sincerely,
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